Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 1 of 103

UNITED STATES DISTRICT COURT AND BANKRUPTCY COURT
OF THE DISTRICT OF COLUMBIA

VICKI FANNING MCLEAN
42431 EVANGELINE DRIVE
HAMMOND, LOUISIANA 70403

ESTATE OF JAMES MCLEAN
42431 EVANGELINE DRIVE
HAMMOND, LOUISIANA 70403

ESTATE OF LOUIS FANNING, SR.

42431 EVANGELINE DRIVE
HAMMOND, LOUISISANA 70403

EX REL

UNITED STATES OF AMERICA -

PLAINTIFFS
VS

RUSSIAN FEDERATION,
COUNTRY OF 1924 TO PRESENT
PROSECUTOR GENERAL

OF RUSSIA

BOLGHAYA DMITROVAKA, 15A
GSP-3, MOSCOW, 125993.RUSSIA

Case: 1:19-cv—03312

Assigned To : Kollar—Kotelly, Colleen
Assign. Date : 11/4/2019

Description: Pro Se Gen. Civ. (F-DECK)

PATRIOT ACT OF 2001

ESPIONAGE ACT OF 1917,1939

ALIEN REGISTRATION ACT OF 1940 ©
TRADE EXPANSION ACT OF 1962

INTERNATIONAL IN TRAFFIC IN
ARMS REGULATION ACT OF 1976

COUNTERING RUSSIAN INF LUENCE
IN EUROPE AND EURASIA ACT OF
2017

COUNTERING AMERICA’S
ADVERSARIES THROUGH
SANCTIONS ACT OF 2017

FOREIGN INVESTMENT AND
NATIONAL SECURITY ACT OF 2007

IMMIGRATION & NATURALIZATION
ACT OF 1924, 1952

SEDITION ACT OF 1918
RACKETEER INFLUENCED AND

CORRUPT ORGANIZATION ACT OF
1970 |

 
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 2 of 103

VLADIMIR PUTIN, PRESIDENT
OF RUSSIAN FEDERATION
PROSECUTOR GENERAL

OF RUSSIA

BOLGHAYA DMITROVAKA, 15A
GSP-3, MOSCOW, 125993 RUSSIA

GRU MILITARY INTELLIGENCE
AGENCY OF

RUSSIAN FEDERATION
GRIZODUBOVOY STR 3,
MOSCOW, 125252 RUSSIA

INTERNET RESEARCH AGENCY
55 SAVUSHKINA STREET
PRIMORSKY DISTRICT, 197183
SAINT PETERSBURG

JSC ROSOBORONEXPORT
STATE CORPORATION OF
RUSSIAN FEDERATION
27, STROMGNKA STREET
MOSCOW, 101076

RUSSIA FEDERATION

BNK MILITARY INDUSTRIAL
COMPANY, LLC24

15 ROCHDELSKAYA STR,

BUILD 8, FLOOR 3, P. 1, COM. 10-14
MOSCOW, 123022 RUSSIA

ROSATOM STATE NUCLEAR
ENERGY CORPORATION

24 BOLSHAYA ORDYNKA ST 1.,
MOSCOW 119017, RUSSIA

ROSTEC
24 USACHEVA STREET
MOSCOW 119048, RUSSIA

INVENTIONS SECRECY ACT OF 1961
SOCTAL SECURITY ACT OF 1935, 1965
CIVIL RIGHTS ACT OF 1964

EMPLOYMENT RETIREMENT
INCOME SECURITY ACT OF 1974

ILLEGAL IMMIGRATION AND
REFORM RESPONSIBILITY ACT
OF 1996

BANK SECRECY ACT OF 1970
FOREIGN INVESTMENT RISK

REVIEW MONDERNIZATION ACT
OF 2018
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 3 of 103

URANIUM ONE GROUP
OZERKOVSKAYA NAB 28,
BUILDING 3, MOSCOW, 115184
RUSSIA

BURISMA HOLDING LIMITED
ARCHIEPISKOPOU MAKARIOU III
155, PROTEAS HOUSE, FLOOR 5,
3026 LEMESOS, CYPRUS

GULFTAINER COMPANY LIMITED

121 CORNICHE AL BUHAIRA

43"? FLOOR SARH AL EMARAT TOWER
SHARJAH, UNITED ARAB EMIRATES 23117

CRESCENT ENTERPRISES

CRESCENT HOUSE

121 CORNICHE AL BUHAIRA,

SHARJAH, UNITED ARAB EMIRATES 23117

INTERNATIONAL ATOMIC ENERGY AGENCY
VIENNA INTERNATIONAL CENTRE

P.O. BOX 100

A-1400 VIENNA, AUSTRIA

TERRA POWER
15800 NORTHUP WAY
BELLEVUE, WASHINGTON 98008

BILL, HILLARY, AND CHELSA
CLINTON FOUNDATION

1200 PRESIDENT CLINTON AVENUE
LITTLE ROCK, ARKANSAS 72201

BILL AND MELINDA GATES FOUNDATION
500 FIFTH AVENUE NORTH
SEATTLE, WASHINGTON 981092
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 4 of 103

VARKEY FOUNDATION

28° FLOOR, ST. ALBANS HOUSE
57-59 HAYMARKET

LONDON, SW1Y4QX, UK

FACEBOOK, INC.
1601 WILLOW ROAD
MENLO PARK, CA 94025

GOOGLE NORTH AMERICA, INC.
1600 AMPHITHEATRE PARKWAY
MOUNTAIN VIEW, CA 94043

TWITTER, INC.
1355 MARKET STREET SUITE 900
SAN FRANCISCO, CA 94103

BITCOIN FOUNDATION
71 COLUMBIA ST. SUITE 300
SEATTLE, WA USA 98104

HARVARD UNIVERSITY
OFFICE OF GENERAL COUNSEL
SMITH CAMPUS CENTER

1350 MASSACHUETTS AVENUE
CAMBRIDGE, MA 02138-3834

MASSACHUETTS INSTITUTE OF
TECHNOLOGY

OFFICE OF GENERAL COUNSEL
77 MASSACHUETTS AVE 7-206
CAMBRIDGE, MA 02139-4307

STANFORD UNIVERSITY

OFFICE OF GENERAL COUNSEL
BLDG 170, THIRD FLOOR, MAIN QUAK
P.O. BOX. 20386

STANFORD, CA 94305-2038
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 5 of 103

VLADIMIR PUTIN, PRESIDENT
OF RUSSIAN FEDERATION
PROSECUTOR GENERAL

OF RUSSIA

BOLGHAYA DMITROVAKA, 15A
GSP-3, MOSCOW, 125993 RUSSIA

GRU MILITARY INTELLIGENCE
AGENCY OF "
RUSSIAN FEDERATION
GRIZODUBOVOY STR 3,
MOSCOW, 125252 RUSSIA

INTERNET RESEARCH AGENCY
55 SAVUSHKINA STREET
PRIMORSKY DISTRICT, 197183
SAINT PETERSBURG

JSC ROSOBORONEXPORT
STATE CORPORATION OF
RUSSIAN FEDERATION
27, STROMGNKA STREET
MOSCOW, 101076

RUSSIA FEDERATION

BNK MILITARY INDUSTRIAL
COMPANY, LLC24

15 ROCHDELSKAYA STR,

BUILD 8, FLOOR 3, P. 1, COM. 10-14
MOSCOW, 123022 RUSSIA

ROSATOM STATE NUCLEAR
ENERGY CORPORATION

24 BOLSHAYA ORDYNKA ST 1.,
MOSCOW 119017, RUSSIA

ROSTEC
24 USACHEVA STREET
MOSCOW 119048, RUSSIA

INVENTIONS SECRECY ACT OF 1961
SOCIAL SECURITY ACT OF 1935, 1965
CIVIL RIGHTS ACT OF 1964

EMPLOYMENT RETIREMENT
INCOME SECURITY ACT OF 1974

ILLEGAL IMMIGRATION AND
REFORM RESPONSIBILITY ACT
OF 1996

BANK SECRECY ACT OF 1970
FOREIGN INVESTMENT RISK

REVIEW MONDERNIZATION ACT
OF 2018
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 6 of 103

URANIUM ONE GROUP
OZERKOVSKAYA NAB 28,
BUILDING 3, MOSCOW, 115184
RUSSIA

BURISMA HOLDING LIMITED
ARCHIEPISKOPOU MAKARIOU III
135, PROTEAS HOUSE, FLOOR 5,
3026 LEMESOS, CYPRUS

GULFTAINER COMPANY LIMITED

121 CORNICHE AL BUHAIRA

43" FLOOR SARH AL EMARAT TOWER
SHARJAH, UNITED ARAB EMIRATES 23117

CRESCENT ENTERPRISES

CRESCENT HOUSE

121 CORNICHE AL BUHAIRA,

SHARJAH, UNITED ARAB EMIRATES 23117

INTERNATIONAL ATOMIC ENERGY AGENCY
VIENNA INTERNATIONAL CENTRE

P.O. BOX 100

A-1400 VIENNA, AUSTRIA

TERRA POWER
15800 NORTHUP WAY
BELLEVUE, WASHINGTON 98008

BILL, HILLARY, AND CHELSA
CLINTON FOUNDATION

1200 PRESIDENT CLINTON AVENUE
LITTLE ROCK, ARKANSAS 72201

BILL AND MELINDA GATES FOUNDATION
500 FIFTH AVENUE NORTH
SEATTLE, WASHINGTON 981092
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 7 of 103

GEORGETOWN UNIVERSITY
OFFICE OF GENERAL COUNSEL
37 & O STREETS, NW
WASHINGTON, DC 20057

GEORGE WASHINGTON UNIVERSITY
OFFICE OF GENERAL COUNSEL

2000 PENNSYLVANIA AVE. NW

SUITE 305, WASHINGTON, DC 20006

LOYOLA UNIVERSITY NEW ORLEANS
OFFICE OF GENERAL COUNSEL
MARGQUETTE 240

6363 ST. CHARLES AVENUE

CAMPUS BOX 58

NEW ORLEANS, LA 70118

TULANE UNIVERSITY

OFFICE OF GENERAL COUNSEL
6823 ST. CHARELES AVE

NEW ORLEANS, LA 70118

LOUISIANA STATE UNIVERSITY
OFFICE OF GENERAL COUNSEL
3810 WEST LAKESHORE DRIVE
SUITE 124

BATON ROUGE, LA 70808

SOUTHEASTERN LOUISIANA UNIVERSITY
OFFICE OF PRESIDENT

DYSON HALL ROOM 106

SLU BOX 10784

HAMMOND, LA 70402

UNIVERSITY OF NEW ORLEANS
OFFICE OF PRESIDENT

2000 LAKESHORE DRIVE

NEW ORLEANS, LA 70148
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 8 of 103

DELGADO COMMUNITY COLLEGE
OFFICE OF PRESIDENT

615 CITY PARK AVENUE

NEW ORLEANS, LA 70119

UNIVERSITY OF TEXAS SYSTEM
210 WEST 7'! STREET
AUSTIN, TEXAS 78701-2982

UNIVERSITY OF HOUSTON SYSTEM
OFFICE OF GENERAL COUNSEL
4800 CALHOUN

HOUSTON, TX 77204

SOUTH TEXAS COLLEGE OF LAW OF
HOUSTON

OFFICE OF GENERAL COUNSEL

1303 SAN JACINTO ST.

HOUSTON, TX 70002-7006

LONE STAR COLLEGE SYSTEM

OFFICE OF GENERAL COUNSEL
5000 RESEARCH FOREST DRIVE
THE WOODLANDS, TX 77381

TEXAS A&M UNIVERSITY SYSTEM
OFFICE OF GENERAL COUNCIL
301 TARROW STREET

COLLEGE STATION, TX 77840-7896

UNIVERSITY OF CALIFORNIA SYSTEM
OFFICE OF PRESIDENT AND
GENERAL COUNSEL

1111 FRANKLIN ST.

OAKLAND, CA 94607

DEFENDANTS
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 9 of 103

Case: 1:19-cv-03312
Assigned To : Kollar—Kotelly, Colleen

COMPLAINT Assign. Date : 11/4/2019
Description: Pro Se Gen. Civ. (F-DECk)

I, Vicki Fanning McLean a plaintiff and the Pro Se filer for the plaintiffs of the Estate of
James McLean and the Estate of Louis Anthony Fanning, Sr all being native U.S. Citizens
and Texas, or Louisiana residents am filing this case against the Russian Federation,
Country of, ET AL EX REL USA under the Patriot Act, Espionage Act of 1917,
Countering America’s Adversaries Through Sanctions Act of 2017, Countering Russian
Influence in Europe and Eurasia Act of 2017, Foreign Investment and National Security
Act of 2007, Trade Expansion Act of 1962, International In Traffic In Arms Regulation
Act of 1976, Alien Registration Act of 1940, Immigration and Naturalization Act of 1924
and 1952, Racketeer Influence and Corrupt Organizations Act of 1970, Bank Secrecy Act
of 1970, Civil Rights Act of 1964, Social Security Act of 1935, 1965, Employment
Retirement Income Security Act of 1974, and Illegal Immigration Reform and Immigrant
Responsibility Act of 1996. The plaintiffs in this case have previously filed a series of
federal cases placed with the Foreign Intelligence Surveillance Court (known here after as
FISC) under Intelligence Judge Martin Feldman in the U.S. District Court of Eastern
Louisiana beginning on Sept. 28, 2016 Case 16-15001. The series of cases filed under the
Foreign Intelligence Surveillance Court were filed primary under the Patriot Act of 2001,
Alien Registration Act. Of 1940, McCarren-Walters Act of 1952, Bank Secrecy Act of
1970, Espionage, Act of 1917, RICO ACT of 1970, and the International Traffic in Arms
Regulation Act of 1976 and Immigration and Naturalization Act of 1924 and 1952. Many
of the issues addressed in this case were addressed by the plaintiffs against different
defendants in FISC cases filed under the Patriot Act and Espionage Act in U.S. District
Court of Eastern Louisiana in New Orleans 17-5578, 17-12760, 18-911, 18-3462, 18-3701
and U.S. District Court of Western Texas A18-1021 , A19 -0591, A19-0647 and A19-0648
all filed originally under Federal Judge Robert Pitman.

 

Clark ELS
Clark, U.S.
.

  

Rankrupt
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 10 of 103

Due to these FISC cases being active with active investigations specifically addressing the
yearly massive theft of U.S. funds by the Federal Reserve Shareholders back till 1913 there
exists a much greater threat from immigrants, legal and illegal living inside the United
State most using stolen U.S. Citizens’ social security numbers , to rise up and revolt against
the U.S. Citizens in the border States and Coastal States while enabling the mass movement
of foreign troops from the Mexican border falsely claiming asylum and refugee status, from
overseas from China by way of cruise ships, and from Russia and India by way of illegal
international underground subways to overtake the United States and the United States

Citizens for the Federal Reserve Shareholders planned massive United States genocide.

The filing of this case for the U.S. Citizens as described against the Russian Federation,
Country of, ET AL EX REL USA under the Patriot Act, etc. should enable this case to be
immediately moved to the FISC under Judge Martin Feldman and Magistrate Daniel
Knowles with immediate transfer to Chief Supreme Court Justice John Roberts to be in
accordance with the U.S. Constitution Article 3, Sections 1-3 supported by the Federalist
Papers Article 81.

Quote from the Federalist Papers Article 81

“Let us now examine in what manner the judicial authority is to be distributed between the
supreme and the inferior courts of the Union. The Supreme Court is to be invested with
original jurisdiction, only ‘‘in cases affecting ambassadors, other public ministers, and
consuls, and those in which a state shall be a party." Public ministers of every class are the
immediate representatives of their sovereigns. All questions in which they are concerned

are so directly connected with the sovereignties they represent; it is both expedient and
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 11 of 103

proper that such questions should be submitted in the first instance to the highest judicatory
of the nation. the public peace, that, as well for the preservation of this, as out of respect to
Though consuls have not in strictness a diplomatic character, yet as they are the public
agents of the nations to which they belong, the same observation is in a great measure
applicable to them. In cases in which a State might happen to be a party, it would ill suit

its dignity to be turned over to an inferior tribunal.”

Due to the attack on Supreme Court Justice Brett Kavanaugh in 2018 led by USS.
Democratic Senator Diane Feinstein and the attack on Vicki McLean’s first federal Judge
Thomas Porteous in 2008 led by the Democratic controlled U.S. House of Representatives
under Speaker Nancy Pelosi for the benefit of the Federal Reserve Shareholders there is a
greater urgency to notify all Federal Judges to protect and aid them to rise up against the
forging of their orders encouraging them also to transfer all forged cases to FICS especially
the ones filed for immigrants not allowed to file in U.S. Courts under the Alien Registration
Act of 1940 and Espionage Act and Sedition Act of 1917. Vicki McLean forcing a citation
hearing purposely positioned with Magistrate Daniel Knowles was how she enabled the
FISC to prove that all Vicki McLean’s federal judges’ orders being as many as 22 Federal
Judges had been forged with the forging of the assistant U.S. Attorneys’ motions by the
colleges and universities’ illegal mind control staff on 6 Federal False Claim Espionage
cases filed for the U.S. Citizens. Once enough evidence was acquired by FISC, all the cases

filed by Vicki McLean were able to be picked up for the U.S. Citizens.

It is very clear in the Federal Papers articles 79-81 that lays the foundation for the J udiciary
Branch and the Supreme Court that a federal judge appointment is a lifetime appointment
only to age 60 requiring automatic retirement from a federal judgeship position upon their
60" birthday. Federal Judges have been illegally allowed to continue after age 60 due to
the Supreme Court having allowed the forging of their own orders for over 70 years by the

universities and colleges mind control system for the benefits of the Federal Reserve

9
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 12 of 103

Shareholders giving the Federal Reserve Shareholders and Universities’ mind control
systems great leverage over the Supreme Court Justices due to their violations of U.S.
Constitution and U.S. Laws. As of 2019, 6 out of 9 Supreme Court Justices are over age
60 and Supreme Court Justice Sonia Sotomayor, a Puerto Rican Citizen, has a high
probability of not being a legitimate U.S. Citizen using a stolen social security number who
was nominated by U.S. President Barack Obama also said to be using a stolen U.S. Citizen
social security number whose U.S. Citizenship would be questionable. These violations by
the Supreme Court equates to all their ruling being voidable due to the Supreme Court
being illegitimate under the U.S. Constitution and U.S. Laws which has continually denied
the U.S. Citizens their rights to due process and rights to counsel. There is an extremely
high probability that Supreme Court Justice Ruth Ginsburg’ s illegal microchip IP address
contains the file records that dictated how the mind control programmers and forgers of the
Supreme Court Justices were to rule on specific Supreme Court cases since Ruth Ginsberg
was nominated to the Supreme Court. It is reasonable to assume all the Supreme Court
Justices for the last 50 years have worked in the illegal Universities and colleges mind
control system making them reliable Supreme Court Justices who would not expose the
forging of the federal judges orders for the benefit of the Federal Reserve Shareholders.
Due to these reasons the Supreme Court Chief Judge Roberts being over the age of 60
would have no authority over the Foreign Intelligence Surveillance Court assigned to all
of Vicki McLean’s past and current federal cases since 2007 starting with the case filed in
U.S. District Court of Eastern Louisiana in New Orleans 07-9717 assigned to Federal Judge
Thomas Porteous and Magistrate Daniel Knowles, III.

This case is being filed to address the subversive and espionage activities of the Russian
Federation, Country of, ET AL allowing massive numbers of citizens from Russia who are
members of Russia’s Secret Police living in Russia and living inside the United States who

acquired stolen U.S. Citizens social security numbers and having stolen federal, state, and

10
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 13 of 103

local benefits with many having acquired fraudulent U.S. Citizenship using a stolen U.S.
Citizens social security in violation of the U.S. Constitution, Patriot Act 0f 2001 , Espionage
Act of 1917, Countering America’s Adversaries Through Sanctions Act of 2017,
Countering Russian Influence in Europe and Eurasia Act of 2017, F oreign Investment and
National Security Act of 2007, Trade Expansion Act of 1962, International In Traffic In
Arms Regulation Act of 1976, Alien Registration Act of 1940, Immigration and
Naturalization Act of 1924 and 1952, Racketeer Influence and Corrupt Organizations Act
of 1970, Bank Secrecy Act of 1970, Civil Rights Act of 1964, Social Security Act of 1935,
1965, Employment Retirement Income Security Act of 1974, and Illegal Immigration
Reform and Immigrant Responsibility Act of 1996. to invade the United States to aid the
U.S. Federal Reserve Shareholders to control and overtake the legitimate U.S. Government
and U.S. Citizens established under the U.S. Constitution attacking them both financially
and physically daily inside the United States on U.S. domestic soil by using the illegal

colleges and universities’ mind control systems.

The International Bankers being referred to as the Federal Reserve Shareholders here after
controlled all nations and industries as early as the 1850’s. The Federal Reserve
Shareholders took total control over the Soviet Union government and the Soviet Union
Citizens under President Stalin’s regime during World War II so the Soviet Union now
known as the Country of Russian Federation would be the Federal Reserve Shareholders’
leader of their global Secret Police Force inside all nations and the Federal Reserve

Shareholders’ leader in space and on sea.

Russian Federation formerly known as the Soviet Union became the focus of Hitler as early
as 1925 when Hitler declared he would invade the Soviet Union in his political manifesto

and autobiography “Mein Kampf”.

11
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 14 of 103

“Operation Barbarossa” from Wikipedia

“Operation Barbarossa (German: Unternehmen Barbarossa) was the code name for the
Axis invasion of the Soviet Union, which started on Sunday, 22 June 1941, during World
War II. The operation stemmed from Nazi Germany's ideological aims to conquer the
western Soviet Union so that it could be repopulated by Germans (Lebensraum), to use
Slavs as a slave labour force for the Axis war effort and to annihilate the rest according to
General plan Ost, and to acquire the oil reserves of the Caucasus and the agricultural

resources of Soviet territories.”

“The German armies captured some 5,000,000 Red Army troops during the war, who were
denied the protection guaranteed by the Hague Conventions and the 1929 Geneva
Convention. A majority of Red Army POWs never returned alive. The Nazis deliberately
starved to death, or otherwise killed, 3.3 million prisoners of war, as well as a huge number
of civilians (through the "Hunger Plan" which aimed at largely replacing the Slavic
population with German settlers). Einsatzgruppen death-squads and gassing operations

murdered over a million Soviet Jews as part of the Holocaust.

Operation Barbarossa was the largest military operation in history —- more men, tanks,
guns and aircraft were committed than has ever been deployed in a single offensive. The
invasion opened up the Eastern Front (World War II), the largest theater of war during that
conflict, and it witnessed clashes of unprecedented violence and destruction for four years
that resulted in the deaths of 26 million Soviet people and about 8.6 million being Red
army deaths. More people died fighting on the Eastern Front than in all other fighting across
the globe during World War II. Damage to both the economy and landscape was enormous

for the Soviet Union as approximately 1,710 towns and 70,000 villages were razed.”

12
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 15 of 103

“Stalin’s NKVD and Hitler’s Gestapo cooperated closely even before Molotov-Ribbentrop Pact”
http://euromaidanpress.com/2019/01/13/stalins-nkvd-and-hitlers-gestapo-

cooperated-closely-even-before-molotov-ribbentrop-pact/

“Perhaps the only thing that outrages Russian defenders of Stalin more than the obvious
parallels between his regime and Hitler’s is any reference to the alliance the two dictators
formed in 1939 with the Molotov-Ribbentrop Pact, one that opened the way to war in
Europe and lasted until Hitler turned on his former ally in June 1941.

But now there may be something even more offensive to such defenders of Stalin and his
system: the discovery of documents which confirm that Stalin’s NK VD cooperated closely
with the Gestapo well before the Molotov-Ribbentrop Pact was signed and that may have
paved the way to its signature.

Dmitry Volchek of Radio Svoboda reports that documents recently released from the
archives of the KGB offices in Ukraine show that “the NK VD handed over to the Gestapo
refugees from Germany who had hoped to find in the USSR salvation from Hitler.”

Beginning well before 1939 and continuing right up to the German invasion, the Soviet
secret police sent “hundreds” of refugees to their imprisonment, torture and in many cases
death at the hands of the Gestapo. At first, it involved mostly German citizens; but later,

this “cooperation” expanded to include others as well.

Volchek asked Mensing about similarities between the NKVD and the Gestapo. The
German historian answered that they shared “the specific qualities of the secret police. The
Gestapo exterminated the Jewish population in occupied countries: this was its unique

feature.” On the other hand, “the number of victims of the NK VD was apparently larger.”

“The numbers varied, but the pitilessness was the same,” he continued. “Both the Gestapo

and the NK VD were instruments in the hands of criminal rulers and despotic tyrants.”

13
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 16 of 103

“*Putin’s Father Served in the Vlasov Army” -

http://euromaidanpress.com/2014/03/17/putins-father-served-in-the-vlasov-army/

“Vladimir Spiridonovich Putin, father of Vladimir Vladimirovich Putin the current Russian
President, had been an officer of the internal troops of the NKVD up to 1941. He yielded
himself prisoner to the Germans near Vitebsk, [Byelorussia], in the beginning of the war
and after Andrey Vlasov formed a collaborationist army voluntarily joined it. Serving with
the Vlasov units and together with the German Army he participated in punitive sanctions
against the Polish population. In 1945 V.S. Putin was taken prisoner by the British. The
documents confirming this fact are kept in classified British archives in London where they

were discovered by Viktor Suvorov.

In 1945 V.S. Putin together with other members of the Vlasov army was delivered over by
the British to the Soviet Union. His son, the current President of Russia followed the trade

of his father. He started his service with the KGB (the heir of the NK VD) in his 18 year

where he rose to a high rank of colonel.

[As of 2000] President Vladimir Vladimirovich Putin pursues a pro-German policy in the
spirit of the Molotov-Ribbentrop Pact of 1939.”

Note the German Gestapo, Soviet Union NKVD, and Russia KGB are known as Secret

Police.

“Secret Police” from Wikipedia

“The term secret police (or political police) refers to intelligence, security or police
agencies that engage in covert operations against a government's political opponents and

dissidents. Secret police organizations are characteristic of totalitarian regimes. Used

14
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 17 of 103

to protect the political power of an individual dictator or an authoritarian regime,
secret police often, but not always, operate outside the law and are used to repress
dissidents and weaken the political opposition, frequently with violence,

assassinations, and torture.

“NKVD” from Wikipedia

“The People's Commissariat for Internal Affairs (HapogHei komuccapuaT BHYTpeHHUXx
nen: Narodnyy Komissariat Vnutrennikh Del), abbreviated NKVD ), was the interior

ministry of the Soviet Union.

Established in 1917 as NK VD of Russian SFSR, the agency was originally tasked with
conducting regular police work and overseeing the country's prisons and labor camps. It
was disbanded in 1930, with its functions being dispersed among other agencies, only to

be reinstated as an all-union ministry in 1934.

The functions of the OGPU (the secret police organization) were transferred to the NK VD
in 1934, giving it a monopoly over law enforcement activities that lasted until the end of
World War IT. During this period, the NK VD included both ordinary public order activities,
as well as secret police activities. The NK VD is known for its role in political repression
and for carrying out the Great Purge under Joseph Stalin. It was led by Genrikh Yagoda,

Nikolai Yezhov and Lavrentiy Beria.

The NKVD undertook mass extrajudicial executions of untold numbers of citizens,
and conceived, populated and administered the Gulag system of forced labour camps.
Their agents were responsible for the repression of the wealthier peasantry, as well
as the mass deportations of entire nationalities to uninhabited regions of the country.
They oversaw the protection of Soviet borders and espionage (which included

political assassinations), and enforced Soviet policy in communist movements and

15
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 18 of 103

puppet governments in other countries, most notably the repression and massacres

in Poland.

In March 1946 all People's Commissariats were renamed to Ministries, and the NK VD

became the Ministry of Internal Affairs (MVD).”

Note Soviet Gulag system of forced labour camp-system was set up under Vladimir
Lenin and reached its peak during Joseph Stalin's rule from the 1930s to the early
1950s. English-language speakers also use the word gulag to refer to any forced-labor
camp in the Soviet Union, including camps which existed in post-Stalin times. It is
reasonable to conclude the Gulag Forced Labor was used to construct the Russian
underground mind control systems. The United States also during the same time
inside the United States illegally used prison labor all throughout the country with
illegal and legal immigrants to construct the U.S. mind control systems from the
1930’s to 1950’s. This activity within the United States clearly indicated that the FBI
under Hoover was the U.S. Secret Police used to protect the political power of an
individual dictator or an authoritarian regime starting with U.S. President Franklin
Roosevelt from 1933-1945 and subsequent U.S. Presidents thereafter for the benefit
of the Federal Reserve Shareholders. U.S. President Trump does not appear to be a
member of any of the Federal Reserve Shareholders secret societies like the Bush
Clan, Clinton Clan, President Carter, President Reagan, and President Obama. This
explains why Mueller, Comey, Wray, and Rosenstein obvious members of the U.S.
Secret Police operating inside the FBI have ban together to remove U.S. President
Donald Trump from office. It also explains why the FBI and CIA were used to cover
up the Federal Reserve Shareholders’ assassination of President John F. Kennedy
and take down of the World Trade Towers using their Global Secret Police inside and

outside the United States.

16
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 19 of 103

Article “Secret Societies” - https://worldtruth.tv/the-network-of-global-secret-

societies/

“You see, if you amount to anything in Washington these days, it is because you have been
plucked or handpicked from an Ivy League School — Harvard, Yale, Kennedy School of
Government- you’ve shown an aptitude to be a good Ivy League type, and so you’re
plucked so to speak, and you are assigned success. You are assigned a certain role in
government somewhere, and then your success is monitored and tracked, and you go where
the pluckers and hand pickers can put you.” Radio Talk Show Host Rush Limbaugh, Feb.
7, 1995”

“Bloodline president John F. Kennedy was well aware of America’s secret society control.
His many rebellious decisions against the global elite, his non-participation in the Great
Work, would ultimately lead to his assassination. He did, however, try to war the average
American of our plight. On April 27", 1961 in an address to newspaper publishers, JFK

said:

“The very word ‘secrecy’ is repugnant in a free and open society, and we are as a people,
inherently and historically, opposed to secret societies, secret oaths, and secret
proceedings... For we are opposed around the world by a monolithic, and ruthless
conspiracy that relies primarily on covert means to expanding its sphere of influence. It
depends on infiltration instead of invasion, on subversion instead of elections, on
intimidation instead of free choice. It is a system which has conscripted vast human and
material resources into the building of a tightly knit, highly efficient machine that combines
military, diplomatic, intelligence, economic, scientific, and political operations. Its
preparations are concealed, not published, its mistakes are buried, not headlined, its
dissenters are silenced, not praised, no expenditure is questioned, no secret is revealed... |
am asking your help in the tremendous task of informing and alerting the American people.

The high office of President has been used to foment a plot to American’s freedom, and

17
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 20 of 103

before I leave office, I must inform the citizen of his plight.” John F. Kennedy at Columbia

University, Nov 1‘, 1963”

Note U.S President John F. Kennedy 21 days after the above speech was assassinated
on Nov. 22, 1963 in Dallas, Tx. Covered up by the FBI and CIA, the Secret Police of
the United States.

“List of historical secret police organizations” “Chronology of Soviet secret police

agencies” from Wikipedia

“Soviet Union

All-Russian Extraordinary Commission (Cheka, 1917-22)

¢ State Political Directorate (GPU, 1922-23)

¢ Joint State Political Directorate (OGPU, 1923-34)

¢ People's Commissariat for Internal Affairs (NKVD 1934—46)

¢ Main Directorate of State Security (GUGB 1934-41)

¢ People's Commissariat for State Security (NKGB, Feb Jul-1941/1943-46)
e Ministry for State Security (MGB, 1946-53)

« Committee for State Security (KGB, 1954-91)

In 1991, after the State Emergency Committee failed to overthrow Gorbachev and Yeltsin

took over, General Vadim Bakatin was given instructions to dissolve the KGB.

In Russia today, KGB functions are performed by the Foreign Intelligence Service (SVR),
the Federal Security Service of the Russian Federation (FSB), and the Federal Protective
Service (FSO). The GRU continues to operate as well”

18
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 21 of 103

“United States of America

¢ FBI, under the direction of J. Edgar Hoover

¢« COINTELPRO, a program of the Federal Bureau of Investigation that included
operations directed against Communists, anti- Vietnam War organizers, the Civil Rights
and Black Power movements, feminist organizations, anti-colonial movements, and the
New Left generally, as well as small operations directed against white supremacist and
far-right groups.

¢ Mississippi State Sovereignty Commission, largely confined to one state”

Surely the U.S. Central Intelligence Agency an unconstitutional independent agency is also
known as the United States Secret Police working with the FBI and United States
Department of Defense Special Operations Command carrying out covert operations

abroad.

“10 Dirty Secret CIA Operations” - https://listverse.com/2013/05/25/10-dirty-secret-

cia-operations/

“10 CIA operations supporting secret police covert operations across the globe are listed
as: The Mujahideen, Operation Ajax, Phoenix Program, Operation CHAOS, Operation
Mockingbird, Muammar al-Qaddafi, Pakistani Vaccine/DNA Collecting Drive, CIA-
Produced Pornography, Operation Mongoose, Operation PBSUCCESS”

“DOSAAF” — FROM WIKIPEDIA

“DOSAAF (Russian: JOCAA®), full name Volunteer Society for Cooperation with the
Army, Aviation, and Navy (Russian: Hobposonbnoe ObmectBo Coyelicrsua Apmun,

Asuatuu u Pnory), was a paramilitary sport organisation in the Soviet Union, concerned

19
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 22 of 103

mainly with weapons, automobiles and aviation. The society was established in 1927 as

OSOAVIAKHIM and from 1951 to 1991 carried the name of DOSAAF.

The society was preserved in some post-Soviet Republics, e.g. Russia and Belarus,
although these may use a different name. In Ukraine, for example, the counterpart is
"Society of Assistance to Defense of Ukraine". In Russia it was reformed in December
1991 as the Russian Defence Sports-Technical Organization ROSTO (Russian:
Poccuiickas o6o0poHHas CHOpTHBHO-TexHM4ecKasd OpraHH3alud — POCTO). In December

2009, ROSTO was renamed DOSAAF Russia. For Belarus, see DOSAAF (Belarus).

The stated goal of the society was "patriotic upbringing of the population and preparation
of it to the defense of the Motherland". Among the means to achieve this was the
development of paramilitary sports. Initially, an important goal was financial support of
the Soviet Armed Forces. At the same time, ordinary sports were supported within the
framework of DOSAAF facilities such as sports halls, stadiums, swimming pools,

gymnasiums and others.”

“The precursor of DOSAAF was the OSOAVIAKhIM (OCOABHAXUM, Cow3
oOujectB coyelicrBua o6opoHe Mu aBMal{MoHHO-xumuyecKOMy crpovtesmpcTBy CCCP,
Union of Societies of Assistance to Defence and Aviation-Chemical Construction of the
USSR) created on 27 January 1927 by merging the Society of Assistance to Defence
(O6ujectBo Coyelicrsus O6opoue (OCO)), Society of Friends of the Air Force (O6mecTBO
apy3eH Bo3szyutoro biota (OJ[B®)) and Society of Friends of Chemical Defense and the
Chemical Industry (OOwectBo ypy3e xumuyeckol o6opoHhI wu xuMMuecKoli

TIpOMBILUIeHHOcTH (Jlo6poxum CCCP)).

The goal of the society was preparation of reserves for armed forces. It soon became a
powerful militarized organization with its own airfields, radio clubs, parachuting towers
and firing ranges. It became prestigious and romantic among the youth to earn badges such

as "Voroshilov sharpshooter" (Russian: BopoumuoscKuii crpenox), "Voroshilov horse

20
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 23 of 103

rider" (Russian: Bopowmyoscxuli Bcaquuk) and "Distinguished Parachute Jumper".
Gradually, OSOAVIAKHhIM developed into a back-up military training organization. Its
courses included advanced disciplines like tactics, topography and armament. In contrast

to the usual draft, a person could join OSOA VIAKHIM as early as 14.

OSOAVIAKhIM supported a number of professional research and development programs
for airplanes, glider, airships and stratospheric balloons, some of which were later taken
over by the Soviet Air Forces. In the 1930s, Sergey Korolev's rocket research organisation
(the GIRD) and Oleg Antonov's glider project, among other efforts, were part of the
OSOAVIAKHIM.

Post-World War II

In March 1948 OSOAVIAKHIM was reorganised into three societies: The Voluntary
Society of Assistance to the Army (Russian: lo6popombHoe oOulecTBo cozelicrBua apMuu
(JOCAPM)), The Voluntary Society of Assistance to the Air Force (Russian:
Jlo6poBosbHoe ObmIecTBO coxelicTBua aBManan (JIOCAB)) and The Voluntary Society of
Assistance to the Navy (Russian: Jlo6popombHoe o6mecrBo coyelicrsua dsory

(HOC®JIOT)). On 20 August 1951 they were re-merged as a single society, DOSAAF.
Late Soviet Union

As was common in the late Soviet Union, "voluntary" actually meant "partially obligatory".
For example, every member of the Komsomol had to be member of DOSAAF (most
Soviet youth had to be in the Komsomol, e.g., if they wanted higher education).
Membership was 10 kopeks in the 1960s—1970s — postage for a letter was 4 kopeks.

DOSAAF received the Order of Lenin (est 1930) and Order of the Red Banner (est 1918).

Russian: JjoOpopoubHoe oOulecTBo cogelicrBua puoty (JIOC®JIOT)). On 20 August 1951
they were re-merged as a single society, DOSAAF.”

21
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 24 of 103

To receive higher education in the Soviet Union which is the Republics of Russia today
one had to be a member of Komsomol and DOSAAF. So. after 1951 every Soviet
Union or Russian that had entered college in Soviet Union was a member of DOSAAF
supporting the society’s goal which is the "patriotic upbringing of the population and
preparation of it to the defense of the Motherland" and the means to achieve by the
development of paramilitary sports. Initially, an important goal of DOSAAF was the
financial support of the Soviet Armed Forces. All educated immigrants from Soviet
Union and Russia entering the United States were members of the Soviet Union and
Russia’s DOSAAF required to support the Russian Military while inside the United
States working with the U.S. Secret Police inside the United States to maintain control
of the U.S. Citizens and U.S. Government for the benefit of the Federal Reserve
Shareholders. Many of the Russian Scientists and Engineers inside the United States
being members of the DOSAAF became professors at the top U.S. Ivy League
Colleges. There children born in the United States would acquire Russian Birthright
Citizenship at time of birth aboard not able to apply for U.S. Citizenship until age 18
when entering college aboard. Russia would also require their Russian children born
aboard to be members of Komsomol and DOSAAF to receive higher education

aboard like their Russian parent.

“Russian Alsos” — from Wikipedia

“The Soviet Alsos or the Russian Alsos was an operation that took place during 1945-1946
in Germany, Austria, and Czechoslovakia, and whose objectives were the exploitation of
German atomic related facilities, intellectual materials, materiel resources, and scientific

personnel.

Near the close and after the end of World War II in Europe, the Soviet Union and the
Western powers had programs to foster technology transfer and exploit German technical

22
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 25 of 103

specialists. For example, the United States had Operation Paperclip and the Soviet Union
had trophy brigades (Tpodeiinpie Opuraybr) advancing with their military forces. In the
area of atomic technology, the U.S. had Operation Alsos and the Soviet Union had their
version. While operational aspects of the Soviet operation were modeled after the trophy
brigades, a more refined approach was warranted for the exploitation of German atomic
related facilities, intellectual materials, and scientific personnel. This was rectified with a
decree in late 1944 and the formation of specialized exploitation teams in early 1945.
However, the Soviet "Alsos" had broader objectives, which included wholesale relocation

of scientific facilities to the Soviet Union. ©

“Targets on the top of their list included the Kaiser Wilhelm Institute for Physics, the
University of Berlin, and the Technology University of Berlin.”

“OPERATION OSOAVIAKHIM” FROM WIKIPEDIA

“Operation Osoaviakhim was a Soviet operation which took place on 22 October 1946,
when NKVD and Soviet army units at gunpoint removed more than 2,200 German
specialists — a total of more than 6,000 people including family members — from the Soviet
occupation zone of post-World War If Germany for employment in the Soviet Union.
Much related equipment was moved too, the aim being too literally transplant research and
production centers, such as the relocated V-2 rocket center at Mittelwerk Nordhausen, from
Germany to the Soviet Union, and collect as much material as possible from test centers
such as the Luftwaffe's central military aviation test center at Erprobungstelle Rechlin,
taken by the Red Army on 2 May 1945. The codename "Osoaviakhim" was the acronym

of a Soviet paramilitary organization, later renamed DOSAAF.

The operation was commanded by NK VD deputy Colonel General Serov, outside the

control of the local Soviet Military Administration (which in a few cases, such as Carl

23
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 26 of 103

Zeiss AG, tried to prevent the removal of specialists and equipment of vital economic
significance for the occupation zone, unsuccessfully, as it turned out, with reportedly only
582 of 10,000 machines left in place at Zeiss). Planned some time in advance to take place
after the zone's elections on 20 October, to avoid damaging the Bloc of the Anti-Fascist
Democratic Parties Unity List's result, the operation took 92 trains to transport the
specialists and their families (perhaps 10,000-15,000 people in all) along with their
furniture and belongings. Whilst those removed were offered contracts (the specialists were
told that they would be paid on the same terms as equivalent Soviet workers), there was

little doubt that failing to sign them was not a realistic option.”

In 2001 under the Patriot Act, the FBI was given the authority to carry out covert
operations abroad with the U.S. Military Special Operations Command and Dept. of
Defense National Security Agency under the George Bush, Jr, Administration to
shield from investigations all exposed covert operations of the CIA since George Bush,
Sr. was former director of the CIA and former U.S. President. The establishment of
the Department of Homeland Security Agency under the Patriot Act was subversive
for the benefit of the Federal Reserve Shareholders to shield from the 9/11/2001
investigations all previous covert operations under the Department of Defense
National Intelligence Agency and Special Operations Command and the past covert
operations of the U.S. Central Intelligence Agency and all activities under the George

Bush, Sr. Administration.

Robert Mueller was named the FBI director from 2001-2013. James Comey was the
U.S. Attorney for Southern District of New York from Jan. 2002 -Dec.15, 2003, then
as U.S. Deputy Attorney General from Dec. 9, 2003- Aug. 15, 2005, then Director of
the FBI on Sept. 4, 2013. - May 2017. Eric Holder who has been said to be Mueller

24
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 27 of 103

and Comey’s mentor was U.S. Attorney for District of Columbia Jan. 20, 1993- June
13, 1997, then U.S. Deputy Attorney General June 13, 1997 — Jan. 20, 2001, then U.S.
Attorney General Feb 3, 2009- April 27, 2015, Loretta Lynch became U.S. Attorney
General April 25, 2015 — Jan. 2017 former Assistant U.S. Attorney in Eastern District
of New York from 1990-1999, former U.S. Attorney of Eastern District of New York,
2001-2015 former partner of Hogan and Lovells, LTD who represented the Clintons,
Rod Rosenstein was U.S. Attorney for the District of Maryland from July 12, 2005-
April 26, 2017, then U.S. Deputy Attorney General from April 26, 2017 to May 11,
2019. Christopher Wray served as U.S. Assistant Attorney General for the Criminal
Division from Sept. 11, 2003 (Anniversary of 9/11/2001) to May 17, 2005 (Birthday of
Timothy James McLean son of James McLean) then became the current FBI Director
on Aug. 2, 2017 to present. Holder, Mueller, Comey, Wray, Rosenstein, Bill Clinton,
Hillary Clinton, the Bush Clan, and Barack Obama are obvious members of the U.S.
Secret Police for the benefits of the Federal Reserve Shareholders. All Federal
employees who are members of the U.S. Federal Secret Police work with the U.S.
Secret Police members of State and Local law enforcement which can easily be
identified due to using a stolen social security number belonging to a U.S. Citizen that

may be alive or dead.

Russian President Vladimir Putin was a member of the KGB and is said to have a net worth
of 200 Billion. His father one of the top leaders of the NK VD who were trained by the
Germans known for its role in political repression and for carrying out the Great Purge
under Joseph Stalin. The NKVD undertook mass extrajudicial executions of untold
numbers of citizens, and conceived, populated and administered the Gulag system of forced
labor camps. Their agents were responsible for the repression of the wealthier peasantry,

as well as the mass deportations of entire nationalities to uninhabited regions of the country.

25
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 28 of 103

It should be assumed that the leaders of the NK VD were paid very well for all their
mercenary services inside and outside the Soviet Union just like the Landgraves of Hesse
in Germany (The Rothschild Clan German ancestors) were paid often from the assets
acquired from the wealthiest citizens they executed. It is reasonable to conclude that
Vladimir Putin net worth originated from his father’s compensation with the NK VD, and
Vladimir Putin compensation as a top leader of the Soviet Union and Russia’s Secret Police

for the benefit of the Federal Reserve Shareholders.

Russia has an extremely higher need for uranium due to Russia’s Role as the Leader of the
Global Secret Police, and leader in space and on seas assigned to carry out future mass
genocide plans of nations which includes the United States for the Federal Reserve
Shareholders. The accomplishment of the United States mass genocide by Russia will crush
the economies of all nations easily setting up future mass genocide plans for the European

Nations and China.

The theft of uranium for Russia’s nuclear needs from Saudi Arabi, Iran, Iraq, Jordon, Syria,
Kuwait, Turkey, Ukraine was the real motive behind of all the False Flag wars known as
Gulf Wars in the Middle Eastern Asia that began with the George Bush, Sr. Administration.
The Joint Chiefs of Staff over all U.S. Military Operations overseas were heavily involved
in aiding Russia’s theft of uranium during the Gulf Wars. The British military also
participated in helping steal uranium for Russia. This explains why so many retired U.S.
military are murdered falsely claiming their deaths as suicides inside the United States due
to being powerful witnesses against the Joint Chiefs of Staff assisting Russia in secret
underground operations to remove uranium from countries in the Middle Eastern Asia who
are rich in oil and gas production not needing to extract uranium from their massive secret
uranium reserves. The theft of uranium from Middle Eastern Asia, Eastern European

Countries, and the Baltic States for Russia enables Russia and the Federal Reserve

26
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 29 of 103

Shareholders to keep secret all their espionage activities using nuclear reactors on land, on

sea, and in space controlled by Russia to attack all nations.

The main purpose for all Gulf Wars orchestrated by the United Nations that began under
Bush, Sr. Administration is to remove secret Uranium reserves secretly from the countries
in Middle Eastern Asia, Baltic States, and Eastern European Countries for Russia’s nuclear
research reactors. There is no way that all of the leaders of Middle Eastern Asia countries,
the Baltic States, the members of the United Nations, the United States Presidents, and U.S.
Joint Chiefs of Staff did not know these Gulf wars were mainly about stealing uranium by
way of the underground for Russia’s nuclear reactors and nuclear weapons. Based on where
the British army were positioned during Gulf Wars there is no way that the British military
leaders did not know these false flag Gulf Wars were all about the theft of uranium. This
is motive for Federal Reserve Shareholders continuing to try to start false flag wars against
Iran, Saudi Arabi, and their neighboring countries in order to continue to steal massive
uranium reserves from Saudi Arabi, Iran, and Iraq. This is also why the U.S. Joint Chiefs
of Staff are so resistant with the U.S. Congress to withdraw all U.S. Troops and military
support from Middle Eastern Asia Countries and are in opposition to the Trump

Administration withdrawal of U.S. Troops from Syria, Iraq, Germany, etc.

As the result of the dissolving of the Soviet Union, Russia is bound by an obligation to
repatriate back to the 17 Baltic Countries either fresh or used highly or low-enriched
uranium from seventeen countries — former Soviet republics or Communist Bloc states —

to which it used to supply research reactor fuel when it was still part of the Soviet Union.

The Ukraine war with Russia is about Russia stealing Uranium from Ukraine with the help
of the United Nations and Burisma Holdings, Limited. The United States under the George
Bush, Jr. administration signed the 2004 Global Threat Reduction Initiative that included

the International Atomic Energy Agency, United States and Russia. The United States

27
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 30 of 103

under the Bush, Jr. and Obama Administration cannot deny that they did not know they
violated the 2004 Global Threat Reduction Initiative when they did not require Russia
beginning in 2005 to send back either fresh or used highly or low-enriched uranium to the
seventeen Baltic countries but instead allowed Russia to send back Spent Nuclear Fuel
(SNF) to the Baltic States which was not acceptable under the agreement and aided Russia
to steal fresh unused Uranium recently mined and other forms of Uranium from the Baltic
States that could be used in Russia’s various nuclear reactors and weapons. Russia began
with the help of the Obama Administration to receive fresh unused Uranium from the Baltic
States and sent back Spent Nuclear Fuel used in Russia’s nuclear research reactors which
is unusable toxic waste to be discarded inside the Baltic States that would contaminate their
soil and drinking water like Flint, Michigan. Burisma Holding, Limited an energy company
able to extract minerals from the earth was likely used to steal Ukraine’s uranium with the
full knowledge of the Ukraine Presidents and Ukraine Ambassadors to U.S. and US.
Ambassadors to the Ukraine. It is also likely that Burisma Holding, Limited used the
technology of U.S. HAARP patent 5041834 that illegally uses James Thomas McLean’s
computerized drilling design technology to remove the uranium from the earth for Russia’s
and the Federal Reserve Shareholders’ benefit. The series of 10 patents filed by William
Banning Vail, III illegally crossed patented Atlantic Richfield, Corporation from 1986-
1997 into U.S. HAARP Patent 5041834 was recorded in great detail in U.S. False Claim
Espionage Case in the U.S. District of Southern Texas, Houston Division 4:14-365 USA,
McLean ET AL VS High Frequency Aurora Research Program, ET AL that included
Uranium One and the Clinton Foundation filed on Feb. 14, 2014 under Federal Judge Sims
Lake and Magistrate Nancy Johnson. The motion that recorded the details of the patents
filed by William Banning Vail, III was recorded in Houston Federal case 4:14-365 on June
6, 2014. This case was moved to the Fifth Circuit Court of Appeals by a Notice of Appeal
due to forgery of the Judges orders and the Assistant U.S. Attorney’s motions on Aug. 28,

2015 with the assumption the three appeal court justices’ orders would also be forged

28
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 31 of 103

giving no time limit to seek justice for the U.S. Citizens due to fraud and violations of the

espionage act.

United States government under the Obama Administration under Attorney General Eric
Holder and Loretta Lynch, FBI Director Robert Mueller and James Comey, U.S. Sec of
State Hillary Clinton and John Kerry, U.S. Secretary of Transportation, and the U.S.
Secretary of Energy with the Presidents of Ukraine, Belarus and Serbia violated the
agreement requiring Russia to send back either fresh or used highly or low-enriched
uranium to the 17 Baltic States instead allowing the United States to aid Russia to steal
fresh or unused uranium from the Baltic Countries. This illegally acquired fresh or unused
uranium by Russia from 2010 through Oct. 2016 will likely be used in Russia’s nuclear
research reactors, floating nuclear power plants, etc. to attack all nations with weather and
other espionage activities for the benefit of the Federal Reserve Shareholders. The Obama
Administration and Russia discontinued their agreement to repatriate nuclear fuel from the
Baltic Countries to Russia in Oct. 2016 just prior to Donald J. Trump being elected as the
2017 U.S. President. The real motive for the Democrats’ impeachment inquiry into
President Trump is to stop U.S. President Trump from investigating all activities of the
current and former U.S. Government officials involved in aiding Russia to steal uranium
from various nations, investigate the Uranium One Deal and Gulftainer Lease Contracts,
and to illegally dismiss the New Orleans Foreign Intelligence Surveillance Court Case 18-

3462 USA, McLean and Fanning VS Federal Reserve System, ET AL by forgery.

Any continuation by the U.S. Military, British Military, and the United Nations to
orchestrate wars, maintain the current false Flag Gulf Wars, place sanctions against Iran
and Saudi Arabia, frame U.S. President Trump linked to Ukraine or Russia, frame the
Saudi Arabi Prince, and frame the President of Iran should be seen as obstruction of justice

with tapering of witnesses linked to McLean’s Foreign Intelligence Surveillance Court

29
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 32 of 103

Cases filed for the U.S. Citizens especially FISC Case 18-3462 filed against the Federal
Reserve System, ET AL.

The framing of U.S. President Trump by the Democrats, DOJ, FBI, U.S. Congress under
House Intelligence and Judicial Committees with Special Counsel Robert Mueller,
Russia’s President Putin and the Ukraine President is directly linked to stopping the
exposure of the theft of Ukraine’s uranium and the Middle Eastern Asia and Eastern Europe

uranium for Russia.

This is why the Russian Secret Police and the U.S. Secret Police (FBI and CIA) under the
Bush and Obama Administration allowed the Uranium One Deal aiding the Russian
Federation government to acquire the Kazakhstan uranium mine and become the majority
owner of Uranium One who controls 20% of the U.S. Uranium Mines, executed the Project
Pelican giving Russian Federation through a Joint Venture with Gulftainer and Prominvest,
Rosoboronexport, and Rostec access to Cape Canaveral through a 35 year cargo lease
agreement obtain by Gulftainer USA, and aided Russia to control the Ukraine
government’s uranium reserves. This was the main motive for former FBI Director and
Special Counsel Robert Swan Mueller to assist in the framing and conviction of Paul
Manafort the former lobbyist for former President of Ukraine Viktor Yanukovych, and
Michael Flynn the former director of U.S. Dept. of Defense Intelligence Agency and the
former commander over combat arms, conventional, and special operations that involved
the FBI under Robert Mueller and James Comey, and CIA under the former CIA Directors.
The indictments of Paul Manafort and Michael Flynn indicate all associates involved in
the career activities of Paul Manafort and Michael F lynn have extensive knowledge of the
subversive activities of Russia’s Secret Police and the U.S. Secret Police aboard, and the

theft of uranium for Russia for the benefits of the Federal Reserve Shareholders.

30
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 33 of 103

Russian Federation needs mass amounts of uranium deposits for their current and future
plans to construct and maintain: nuclear powered space stations in near-Earth orbit,
nuclear powered space stations in upper near-Earth orbit, nuclear powered
spaceships with space debris shields, a nuclear powered system to protect spacecraft
and satellites from attack, mini portable space nuclear reactors, floating nuclear
power plants, laser nuclear powered weather satellites and other satellites, nuclear
research reactors, nuclear breeder reactors, nuclear fast breeder reactors, nuclear

plant reactors, nuclear weapons, nuclear submarines using the HAARP weapon.

“Nuclear Research Reactors” from Wikipedia

“Research reactors are nuclear reactors that serve primarily as a neutron source. They are
also called non-power reactors, in contrast to power reactors that are used for electricity

production, heat generation, or maritime propulsion.”

Nuclear research reactors are used to re-fuel satellites that use nuclear propulsion
and use the HAARP Weather Modification System to attack nations daily with
weather, to take down planes, satellites, rockets, etc., and to attack anything on earth
that is a threat to Russia and the Federal Reserve Shareholders. Russia has plans to
build many different types of nuclear reactors that provide nuclear energy for space,

on seas, on land, and underground.

“Russia Wants Nuclear-Powered Spaceships and Space Debris Shields”

https://www.space.com/9596-russia-nuclear-powered-spaceships-space-debris-

shields.html

31
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 34 of 103

“Uranium One Controversy” from Wikipedia

“The Uranium One controversy involves the sale of Uranium One to Rosatom, which
American conservative media and Republican politicians characterized as a $145 million
bribery scandal involving Hillary Clinton and the Clinton Foundation. No evidence of

wrongdoing has been found after four years of allegations.

Since the 2015 publication of the book Clinton Cash by Breitbart News editor and Steve
Bannon collaborator Peter Schweizer, as well as a 2015 New York Times article, allegations
of a bribery scheme involving Hillary Clinton, the Clinton Foundation and the 2010 sale
of Uranium One have persisted, primarily in conservative media. Despite four years of
discussion and analysis of the matter—as well as an FBI investigation— no evidence of
any quid pro quo or other wrong-doing has surfaced. Numerous Republican politicians and
pundits, including President Donald Trump, have insisted that the Clinton-Uranium One
story is the "real" Russian scandal, rather than the matters for which the Trump

administration was investigated.

2005

$145 million alleged "bribes" to Clinton Foundation

Frank Giustra donates $31.3 million to the Clinton F oundation, to be followed in 2007 with
a pledge of at least $100 million. These amounts constituted the bulk of the $145 million
in supposed bribes paid to the Clinton Foundation.

2007

Uranium One acquired UrAsia Energy

On April 20, 2007, Uranium One acquired UrAsia Energy, a Canadian firm with
headquarters in Vancouver, from Frank Giustra, who then resigned from the UrAsia

Energy Board of Directors. Having severed ties with UrAsia Energy and Uranium One in

2007, Giustra had no evident beneficial interest in the firm's subsequent sale to Rosatom

32
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 35 of 103

in 2010. UrAsia has interests in rich uranium operations in Kazakhstan, and UrAsia
Energy's acquisition of its Kazakhstan uranium interests from Kazatomprom followed a
trip to Almaty in 2005 by Giustra and former U.S. President Bill Clinton where they met
with Nursultan Nazarbayev, the leader of Kazakhstan. Giustra denies reporting by The New
York Times that he and Clinton traveled together to Almaty. Substantial contributions to
the Clinton Foundation by Giustra followed, with Clinton, Giustra, and Mexican
telecommunications billionaire Carlos Slim in 2007 establishing the Clinton Foundation's
Clinton Giustra Sustainable Growth Initiative to combat poverty in the developing world.
In addition to his initial pledge of $100 million, Giustra pledged to contribute half of his
future earnings from mining to the initiative. There is no indication that Giustra was
contemplating any transaction with Russian interests at the time he began donating to the
Clinton Foundation in 2005; rather, he sold UrAsia Energy to Uranium One, a South
African Canadian company based in Toronto, in 2007. That sale was completed two

months before he made his pledges to the Clinton Foundation.

Since uranium is considered a strategic asset with national security implications and
Uranium One owned uranium mining operations in the United States, the acquisition of
Uranium One by Rosatom was reviewed by the Committee on Foreign Investment in the
United States (CFIUS), a committee of nine government cabinet departments and agencies
including the United States Department of State, which was then headed by Hillary Clinton.
Clinton herself did not sit on CFIUS, but rather the State Department was represented by
Jose Fernandez, the Assistant Secretary of State for Economic, Energy and Business
Affairs, who stated that Clinton was not involved in the Uranium One matter. Although
CFIUS members can object to such a foreign transaction, none did, and no member can
veto a decision; veto power rests solely with the president. CFIUS unanimously approved
the Uranium One sale. The Utah Division of Radiation Control and Canada's foreign

investment review agency also approved the transaction.”

33
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 36 of 103

Note Jose Fernandez is a Cuban Citizen likely using a stolen social security number
who aided the Clintons under the U.S. State Department in the sale of Uranium One
to Rosatom. Bill and Hillary Clinton and the Clinton Foundation are tied to
Gulftainer’s “Project Pelican” deal and to the Uranium One deal. Gulftainer is the
Iraqi Jafar family’s UAE-based ports company that is tightly connected to Russia and

Saddam Hussein’s nuclear weapons programs.

In 2014 the Obama administration awarded Gulftainer a 35-year lease to Florida’s
Port Canaveral cargo container terminal in a secret deal code-named “Project

Pelican.”

Article - “The Real Russia Story: Port Canaveral “Project Pelican” and Uranium One
deals connected through the Jafars” https://bigleaguepolitics.com/exclusive-real-russia-
story-port-canaveral-project-pelican-uranium-one-deals-connected-jafars/- Published 1
year ago on Feb 5, 2018 By Mary Fanning and Alan Jones , Originally posted on
Family Security Matters

“Gulftainer is connected to the Uranium One deal.

Gulftainer is the Iraqi Jafar family’s UAE-based ports company that is tightly connected

to Russia and Saddam Hussein’s nuclear weapons programs.

In 2014 the Obama administration awarded Gulftainer a 35-year lease to Florida’s Port

Canaveral cargo container terminal in a secret deal code-named “Project Pelican.”

Jafars partner with Russia’s Inter RAO UES, a subsidiary of Rosatom, majority

owner of Uranium One

34
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 37 of 103

In 2011, Gulftainer affiliate Crescent Investments partnered via a Strategic Cooperation
Agreement with Russia’s state-owned power station operator and electricity import-

export monopoly Inter RAO UES.

At that time, Inter RAO UES was a subsidiary of Russia’s Rosatom State Atomic Energy

Corporation. Rosatom is the Russian company that purchased Uranium One.

The Russian government’s military industrial complex, petroleum industry, electrical
power grid, nuclear energy sector, and nuclear weapons complex, are all components of a
giant web of state-controlled enterprises. Their business structures may routinely shift
like the sand dunes in a desert, but these key sectors always remain under the control of

Vladimir Putin and the Kremlin.

Rosatom controls Russia’s sprawling nuclear weapons production complex.

Rosatom purchased Canadian mining company Uranium One in a deal that transferred
control of one-fifth of U.S. uranium reserves, a strategic national security commodity

critical to U.S. nuclear defense, into the hands of Russia and Vladimir Putin.

Inter RAO UES is chaired by Igor Sechin who at the time of the Crescent Investment deal

was Russia’s Deputy Prime Minister and the head of Russia’s petroleum giant Rosneft.

Rosneft is a Russian state-owned enterprise in business with Crescent Petroleum, another

Gulftainer affiliate.

Forbes reported in January 2018 that Sechin, known as “the Darth Vader of Russia, is
“more powerful than Russian prime minister Dmitry Medvedev,” “more powerful than

Vladimir Putin” and “feared more than Putin.”

35
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 38 of 103

Management frequently moves among Rosatom, Inter RAO UES, and Uranium One

The management of Inter RAO UES, Uranium One, and Uranium One’s majority owner
Rosatom, has been a revolving door. Management moves among these three Russian

companies freely and frequently.

Boris Kovalchuk is Chairman of the Management Board, Inter RAO. “In 2009, he
(Kovalchuk) was Deputy Director General for Development of the State Atomic Energy
Corporation Rosatom” according to Inter RAO’s 2015 Annual Report. Rosatom’s

acquisition of Uranium One was well underway in 2009.

Mikhail Kontserev, Senior Vice President of Uranium One Group, “served as CEO of the
joint venture of ROSATOM and INTER RAO — INTER RAO UES Energy Efficiency

Center LLC” according to his biography featured on Uranium One’s official website.
The Iraqi Jafar Family’s History With WMD

The Crescent Group Chairman and Gulftainer co-owner Hamid Jafar and his brother and
business partner, rogue Iraqi nuclear physicist Dr. Jafar Dhia Jafar, were both deeply
involved in Saddam Hussein’s massive top-secret uranium enrichment and nuclear

weapons programs.

The Pentagon placed Dr. Jafar on CENTCOM’s “Blacklist” in 2003, designated Jafar as a
senior Saddam regime official enemy combatant who was wanted for capture and could

be legitimately targeted by U.S. and coalition military forces.

To the surprise of UN weapons inspector David Kay, Dr. Jafar was able to draw detailed

diagrams from memory showing exactly how to build a nuclear weapon.

36
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 39 of 103

Dr. Jafar stated “You can bomb our buildings. You can destroy our technology. But you

cannot take it out of our heads. We now have the capability.”
Dr. Jafar is also known for his miniaturized nuclear weapon, the Iraqi “Beach Ball.”

North Korea’s Kim Jong Un was seen in 2017 on North Korean television with a what
appeared to be a miniaturized nuclear weapon strikingly similar to Dr. Jafar’s “Beach
Ball.” Dr. Jafar and Kim Jong Un’s father’s regime worked in concert for a delivery

system for a North Korean ballistic missile production line to be built in Iraq.

Dr. Jafar’s brother, Crescent Group Chairman Hamid Jafar, also came under scrutiny.
Hamid Jafar was investigated by multiple Congressional committees and the U.S.
Treasury Department for operating Crescent Petroleum as a Saddam front company in a

WMD funding scheme known as “Oil-For-Superweapons.”

The Obama administration awarded the Jafar family’s Gulftainer the keys to Port
Canaveral’s cargo container terminal despite the fact that Soviet-trained nuclear physicist
Dr. Jafar, an Electromagnetic Isotope Separation (EMIS) uranium enrichment expert,
oversaw a clandestine Iraqi program to enrich uranium to weapons-grade military

specifications in pursuit of Saddam’s “Arab Bomb.”

Dr. Jafar is the CEO of Crescent Group subsidiary Uruk Power, which builds power

stations.

Dr. Jafar repurposed Iraqi power stations to clandestinely send electricity to his secret
EMIS uranium enrichment WMD sites in support of Jafar’s and Saddam’s “Arab Bomb”

program.

37
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 40 of 103

Dr. Jafar has taken the lead in Crescent’s partnership with Inter RAO, working with the
Russians on new power plant projects in the Middle East. According to Dr. Jafar’s

nephew Badr Jafar:

“Looking at opportunities within Russia itself, the other main subsidiary of the Crescent
Group, Crescent Enterprises, owns a company called Gulftainer, which today is the
largest privately-owned port operator in the world in terms of operated volumes.
Gulftainer is looking to expand its geographic footprint by investing in Russia’s
underdeveloped Ports and Logistics sector, specifically the management of container
terminals, logistics partnerships, and inland depots. Another one of Crescent
Enterprises’ subsidiaries, URUK Power, is active in the power sector and is looking at
power opportunities alongside Inter RAO UES, one of Russia’s largest energy
companies.” — Badr Jafar, CEO of Crescent Enterprises and President of Crescent

Petroleum — Leaders Magazine interview — October 4, 2013
Port Canaveral is the nexus of critical military and space infrastructure

Port Canaveral is critical military infrastructure and a major U.S. port integral to U.S.

national defense and space security.

Port Canaveral is adjacent to NASA’s Kennedy Space Center and Canaveral Air Force

Station, where American spy satellites are launched.

Gulfiainer’s Port Canaveral cargo container terminal sits a few hundred yards from a U.S.

Navy Trident nuclear submarine base.

Russia’s Club-K Container Cruise Missile Launch System — A game changer

38
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 41 of 103

As we previously reported, the Jafar’s Gulftainer has entered into a joint venture with
Russia’s state-owned weapons manufacturer Rostec. Rostec exports Russia’s Trojan
Horse Club-K cargo container cruise missile launch system through Rostec’s wholly

owned subsidiary Rosoboronexport.

The Club-K is designed to look identical to standard cargo containers. The Club-K allows
Russia and her rogue regime allies stealth access to the United States. The Club-K.
bypasses early-warning systems by launching Russian Kalibr cruise missiles armed with
nuclear, EMP, or conventional warheads from cargo ships off U.S. shores or from trains,

trucks, and riverine boats inside every hamlet in America.

These Russian cruise missiles are capable of flying at supersonic speeds beneath U.S.
early-warning radar systems from Trojan Horse “cargo containers,” simultaneously
travelling toward multiple cities or other satellite-guided coordinates across the United

States.

The Jafars entered into their joint venture with Rostec in 2010.

Why was this dire threat ignored by the Obama administration officials who helped
Gulftainer secure a lease at Port Canaveral and bypass the required National Security

Threat Analysis?

No CFIUS review for “Project Pelican” Gulftainer deal

The Obama administration declined to subject the “Project Pelican” Gulftainer Port
Canaveral deal to the mandated Committee on Foreign Investment in the United States

(CFIUS) National Security Threat Analysis.

39
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 42 of 103

That National Security Threat Analysis, which includes input from sixteen U.S.

intelligence agencies, was bypassed by the Obama administration.

That review would have revealed that the Jafars were at the center of Saddam Hussein’s

uranium enrichment and nuclear weapons programs.

The mandated CFIUS review would have also revealed that the Jafars had partnered with

Russian state-owned companies behind the Uranium One deal.

That CFIUS review would also have shown that the Jafars are inextricably intertwined
with the Russian companies behind the production of Russian nuclear weapons, and are
behind the export of the Club-K container cruise missile launch system — all Russian
military-industrial weapons programs that could be used in a surprise attack against

America using cruise missiles launched from “cargo containers.”
Clintons tied to Gulftainer “Project Pelican” deal and to Uranium One deal

Bill and Hillary Clinton and the Clinton Foundation are tied to both Gulftainer’s “Project

Pelican” deal and to the Uranium One deal.
Breitbart reported on October 17, 2017:

“Hillary Clinton’s State Department was one of eight agencies to review and sign off on
the sale of U.S. uranium to Russia. However, the then-Secretary of State Clinton was the
only agency head whose family foundation received $145 million in donations from

multiple people connected to the uranium deal, as reported by the New York Times.”

As previously reported, Bill Clinton co-chairs the Dubai-based Business Backs Education
program alongside Crescent Petroleum CEO Majid Jafar. Business Backs Education is

funded by the Varkey GEMS Foundation.

40
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 43 of 103

According to the Varkey Foundation website:

“The Varkey GEMS Foundation has helped to facilitate more than 2,300 commitments
through the Clinton Global Initiative to date. Upon funding and implementation, these

commitments will have a total value of over $70 billion.”

Gates Foundation, World Bank hire auditor, ask The Abraaj Group: Where is our

money?
Hamid Jafar is founding shareholder of Pakistani private equity firm The Abraaj Group.

The Wall Street Journal reported on February 2, 2018 that The Bill and Melinda Gates
Foundation, The World Bank International Finance Corporation (IFC), and two other
institutional investors asked The Abraaj Group for bank statements to determine what
happened to hundreds of millions of dollars sent to Abraaj’s $1 billion health care fund
that were earmarked for construction of hospitals and medical clinics in Pakistan, India,
Nigeria, and Kenya. After The Abraaj Group refused to turn over bank statements, the
investors retained auditing firm Ankura Consulting Group to conduct a forensic trace on

the money.

Reuters UK reports that “Mr. (Hamid) Jafar is Chairman of Gulftainer Ltd, Founding
Shareholder of Abraaj Capital, and URUK Group.”

Gulftainer is a unit of Crescent Enterprises, a subsidiary of the Jafars’ Crescent Group.
The CEO of Crescent Enterprises is Badr Jafar. Badr Jafar is also a member of The
Abraaj Group Board of Directors in addition to serving as the Chairman of the Gulftainer

Executive Board.

The Crescent Enterprises 2013 Annual Report states:

41
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 44 of 103

“As a Founding Shareholder and Limited Partner of Abraaj, Crescent Enterprises
monitors the performance of all invested funds, and takes a keen interest in the strategic
rationale employed by Abraaj on select investment decisions, including review of
coinvestment opportunities whenever possible. Crescent Enterprises also provides

strategic guidance by means of representation on Abraaj’s Board of Directors.”

Wahid Hamid, a former Pakistani foreign student who attended Occidental College with
Barack Obama, and remains very close to the former president, is a Managing Partner of
The Abraaj Group. Wahid Hamid travelled with Barack Obama during his mysterious
1981 trip to Pakistan.

As previously reported in 2016 by The American Report and 1776 Channel:

“Weeks before co-sponsoring the 2012 Clinton Global Initiative meeting, The Abraaj
Group was awarded the first of hundreds of millions of dollars in loans and investment
management contracts through the State Department’s Overseas Private Investment

Corporation (OPIC), a federal agency overseen by Secretary of State Hillary Clinton.”

The Washington Free Beacon reported in 2016 that The Abraaj Group donated between
$500,000 and $1 million to the Clinton Foundation around the same time the private
equity firm received OPIC funds management contracts and loans through the State

Department.
The Washington Free Beacon also reported:

“Authorities in Sindh province (Pakistan) have accused a prominent government official
of providing illegal favors to K-Electric, a power company owned and managed by the
Abraaj Group since 2009.

42
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 45 of 103

Former Pakistani oil minister Dr. Asim Hussain was arrested last year amid allegations
that he helped harbor terrorists in a string of hospitals he owned and doled out illegal
contracts to companies, including K-Electric. Both Hussain and K-Electric have denied

J

the allegations.’
Why?

This jaw-droppingly stunning breach of U.S national security by the Obama
administration — placing Gulftainer “inside the wire” at Port Canaveral at a U.S. defense
and space nerve center, with a cargo container terminal lease, while knowing about
Gulftainer’s joint venture with Russia’s exporter of an advanced weapons system — is

well beyond “boneheaded.”

Considering that (i) Dr. Jafar was successful in designing Saddam’s uranium enrichment
programs and miniaturized nuclear weapons (“Beach Ball”), (ii) Hamid Jafar funded
Saddam’s nuclear weapons programs, (111) CENTCOM declared Dr. Jafar an enemy of
the United States, (iv) the Jafars partnered with the Russian state-owned companies
behind the Uranium One deal, and (v) the Jafars partnered with the Russian company that
exports the stealth Club-K weapons launching system — the Obama administration has a

lot of explaining to do.
As our FBI used to say.... There are no coincidences.”

NOTE GULFTAINER, USA HAS ALREADY SECURED ANOTHER 50-YEAR
CONCESSION FROM THE US PORT OF WILMINGTON BY APRIL 2018
THAT OCCURRED AFTER PASSAGE OF COUNTERING RUSSIAN
INFLUENCE IN EUROPE AND EURASIA ACT OF 2017, COUNTERING
AMERICA’S ADVERSARIES THROUGH SANCTIONS ACT OF 2017, AND
BEFORE THE PASSAGE OF FOREIGN INVESTMENT RISK REVIEW
MODERNIZATION ACT OF 2018, CUSTOMS MODERNIZATION AND
INFORMED COMPLIANCE ACT OF 2018. AND EXPORT REFORM ACT OF

43
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 46 of 103

2018 BEING IN VIOLATION OF U.S. LAWS AND THE U.S. CONSTITUTION
BY GULFTAINER AND STATES OF DELAWARE AND FLORIDA

¢ Preliminary Agreement to grant Gulftainer operation and development rights over
strategic port in the United States with US$580 million planned investment

« Existing volumes 350,000 TEU, with projected 120% increase

¢ Plans to build new container terminal at Edgemoor facility with 1.2 million TEU
capacity

e Company on track to expand North American operations

Gulftainer, the largest privately-owned independent port operator in the world,
headquartered in the United Arab Emirates (UAE), has announced that its subsidiary GT
USA has inked an agreement on terms with the State of Delaware, USA, which would grant
GT USA exclusive rights to operate and develop the Port of Wilmington for 50 years.”

IT SHOULD BE EXPECTED THAT GULFTAINER, USA WILL CONTINUE TO
ILLEGALLY ACQUIRE LEASES FROM ADDITIONAL U.S. PORTS ALL
ACROSS THE UNITED STATES TO AID RUSSIA’S SECRET POLICE IN
CARRYING OUT THE PLANNED U.S. MASS GENOCIDE FOR THE FEDERAL
RESERVE SHAREHOLDERS BEING IN VIOLATION OF U.S. LAWS AND THE
U.S. CONSTITUTION.

Bill and Melinda Gates Foundation a non-profit organization with massive funds

partner often with the Clinton Foundation.

44
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 47 of 103

“Russia Hacked U.S. Power Grid — So What Will The Trump Administration Do
About It?” - https://www.npr.org/2018/03/23/59604482 1/russia-hacked-u-s-power-

grid-so-what-will-the-trump-administration-do-about-it

In the above article “Russia Hacked U.S. Power Grid — So What Will The Trump
Administration Do About It?” Through the posting of this article by social media the Russia
Secret Police, U.S. Secret Police of the FBI and DHS are warning all employees of the U.S.
Department of Energy, FBI, CIA, and associated U.S. Congress committees on Energy,
Homeland Security, Intelligence, and Foreign Relations not to expose how the U.S. power
grids for all the major cities across the United States and NASA’s power grids are set up
to allow guaranteed success for the Russian and Chinese troops planned mass executions
of U.S. residents. It is logical to expect the former U.S. Secretary of Energy Steven Chu a
Chinese Citizen from 2009-2013 and Ernest Moniz from 2013 to Jan. 2017, both proficient
in nuclear energy, set up the power grids of all major U.S. Cities in such a way to connect
all illegal secret underground operations, specific sections of all airports, and specific
sections of all ports to a separate section or sections of the power grid with the capability
to be connected to Russia’s floating nuclear power plants, mini portable space nuclear
reactors, or laser nuclear powered weather satellites. Setting up the power grids of the U.S
major cities and NASA’s power grids this way enables the Russian, Chinese, India, and
U.S. Secret Police to take out all electricity to the U.S. major cities while still having power
to all underground operations, specific sections to all airports, and specific sections of all
ports. Rick Perry the current U.S. Secretary of Energy clearly not qualified for the position
is assigned to make sure no changes are made to how the power grids are set up and all
future planned power grids are set up. The set-up of the power grids of NASA and all U.S.
port cities explains why Gulftainer, USA and their Russian Partner Prominvest were

illegally allowed by the COMMITTEE ON FOREIGN INVESTMENT IN THE

45
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 48 of 103

UNITED STATES who has many members who are foreign spies falsely claiming
U.S. Citizenship using a stolen social security number to obtain yearly leases for years

at U.S. ports.

From U.S. Treasury Website

“Composition of CFIUS

The Secretary of the Treasury is the Chairperson of CFIUS, and notices to CFIUS are
received, processed, and coordinated at the staff level by the Staff Chairperson of CFIUS,
who is the Director of the Office of Investment Security in the Department of the

Treasury.

The members of CFIUS include the heads of the following departments and offices:

Department of the Treasury (chair)
Department of Justice

Department of Homeland Security
Department of Commerce

Department of Defense

Department of State

Department of Energy

Office of the U.S. Trade Representative
Office of Science & Technology Policy

OC RPNNAYMPYWNE

The following offices also observe and, as appropriate, participate in CFIUS’s activities:

1. Office of Management & Budget
Council of Economic Advisors
National Security Council
National Economic Council
Homeland Security Council

we WN

The Director of National Intelligence and the Secretary of Labor are non-voting, ex-
officio members of CFIUS with roles as defined by statute and regulation.”

46
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 49 of 103

Note in 2010 under the Obama Administration, Barack Obama appointed the

following heads of the U.S. Agencies involved in CFIUS who are falsely claiming U.S.

Citizenship using a stolen social security number. Many other high-level U.S. Officials

from the 9 U.S. agencies involved in CFIUS also are falsely claiming U.S. Citizenship

using a stolen social security number. Here are a few:

Aimen Nabi Mir, Indian Citizen was the CFIUS Staff Chairperson from 2009
until 2014 appointed by President Obama

U.S. Secretary of Energy Steven Chu, Chinese Citizen

U.S. Secretary of Labor Elaine Chao, Chinese Citizen now U.S. Secretary

Of Transportation

U.S. Secretary of Labor Hilda Solis, Mexican Citizen

U.S. Secretary of Labor Tom Perez, Cuban Citizen

U.S. Secretary of Labor Alexander Costa, Cuban Citizen current under Trump
Administration

U.S. Secretary of State representatives Jose Hernandez, Cuban Citizen, Huma
Abedin, India Citizen.

U.S. Deputy Secretary of State John Negroponte Greek Citizen Feb 2007- Jan.
2009, former Director of National Intelligence April 2005 — Feb 2007

U.S. Under Secretary of Commerce for Intellectual Property, Michelle Lee
Chinese Citizen March 2015 - June 2017,

U.S. Under Secretary of Commerce for Intellectual Property Andrei
Iancu, Romanian Citizen current under Trump administration,

U.S. Secretary of Commerce Carlos Gutierrez under Bush Administration Feb.
2005-Jan. 20, 2009

U.S. Secretary of Homeland Security Michael Chertoff, Russian and Israel
Citizen from Jan 2005- Jan 2009

47
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 50 of 103

The above are only a few of the many fraudulent citizens using stolen social security
numbers with many being Harvard University graduates working in the government

agencies associated with the unconstitutional independent agency known as

COMMITTEE ON FOREIGN INVESTMENT IN THE UNITED STATES (CFIUS).

Article — “EXCLUSIVE: Obama Appointed Islamic Society Official To Approve Russian
Uranium Sale and Gulftainer Port Deal” October 26, 2017 Mary Fanning and Alan
Jones originally posted by Big League Politics -
https://www.centerforsecuritypolicy.org/2017/10/26/exclusive-obama-appointed-

islamic-society-official-to-approve-russian-uranium-sale-and-gulftainer-port-deal/

“The Obama administration placed Aimen Nabi Mir, former two-time president of
the youth wing of the Islamic Society of North America (ISNA), into the top advisory
position to the Committee on Foreign Investment in the United States (CFIUS), a national

security post at the Treasury Department.

Aimen Mir was the CFIUS Staff Chairperson from 2009 until 2014. During that time,
Aimen Mir played a key role in the CFIUS panel’s decision to approve the sale of
Uranium One to Russia’s Rosatom. Mir also played a key role in the Treasury
Department’s refusal to investigate the UAE’s Gulftainer 35-year cargo container
terminal lease at Port Canaveral, a critical military infrastructure facility for U.S. naval

and space operations. Both decisions severely damaged United States national security.

For starters, Aimen Mir’s ISNA connections are troubling. ISNA is one of the

largest circles in the 2008 Holy Land Foundation HAMAS terror funding trial.

48
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 51 of 103

Further, Aimen Mir is the son of Kashmir-born physician Dr. Ghulam Nabi Mir, an ISNA
Founders Committee member. Dr. Mir is also the president of the World Kashmir
Awareness Forum (WKAF), an Islamic platform Dr. Mir uses to aggressively advocate for
Kashmir’s secession from India in order to join Pakistan. WK AF’s Secretary General “Dr.”
- Syed Ghulam Nabi Fai, is a convicted felon, also from Kashmir, who served as a Pakistani

Inter-Services Intelligence Directorate (ISI) operative inside the United States.”

Note it is reasonable to conclude that all submarines entering the Federal Reserve
Shareholders’ foreign secret submerged submarines bases along the entire United
States coastlines have the HAARP technology able to create earthquakes, attack
ships, ports, harbors, etc. with laser type missiles, hack all electronics equipment of
ships and electronic equipment on land, air, or sea within a certain distance, and able
to accomplish 24/7 mind control surveillance of individuals within a certain distance
on land, air, or sea by hacking into the nearest local University or College mind

control system or by way of a satellite.

The Federal Reserve Shareholders, Harvard University, Massachusetts Institute of
Technology, and Stanford University were well connected to the research of the Kaiser
Wilhelm Institutes in Berlin as early as 1861. The International Bankers controlled all
nations and all universities by the mid- 1800’s which includes the United States, Soviet
Union, and Germany. David Rockefeller graduated from Harvard University in 1936,
James Warburg, son of Paul Warburg, and Edward Warburg son of Felix Warburg both
graduated from Harvard University. The Rockefellers and Warburg’s by the 1800’s
became major donors of Harvard University to control Harvard University for the Federal

Reserve Shareholders.

49
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 52 of 103

The Rockefeller Foundation funded the Kaiser Wilhelm Institute for Psychiatry linked to
mind control in Munick, directed by Dr. Ernst Rudin. Additional funding was provided by
the Harrimans, a successful railroad entrepreneur and banker, the Warburgs and the British
Crown. It is reasonable to conclude that the research and development of Kaiser Wilhelm
Institutes were well developed, proven, and tested by 1861. The Kaiser Wilhelm Institutes
were not officially founded and made public until 1917. The establishment of the
unconstitutional Federal Reserve System in 1913 would make it easy for the Federal
Reserve Shareholders to steal trillions of the U.S. funds yearly to fund their global mind
control systems and global weather modification weapons inside the United States and in

undeveloped countries.

The timing of the construction of the Robert Moses Niagara Power Plant that fuels the U.S.
Harvard mind contro! headquarters under Lake Ontario gives indications that all research
divisions of the Kaiser Wilhelm Institutes in Berlin were well established and tested by

1853.

“Robert Moses Niagara Power Plant” from Wikipedia

“The land that the Robert Moses Niagara Power Plant occupies has a long history of use.
In 1805, Augustus and Peter Porter of Buffalo, New York, purchased the American Falls
from New York in a public auction, and later acquired the rights to the eastern rapids above
the falls as well, but died before they could bring their vision of a canal and power plant to

reality. Several other companies later attempted similar projects without success.

In 1853, the Niagara Falls Hydraulic Power and Manufacturing Company was chartered;
in 1861, it completed a 35 ft (11 m) wide and 8 ft (2.4 m) deep canal. The powerhouse
finally opened in 1874, but produced little electricity even by the standards of the day.

50
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 53 of 103

In 1877, Jacob F. Schoellkopf purchased the canal, along with the water and power rights,
for $71,000. He improved the canal and put the powerhouse to commercial use. In 1881,
his company completed Schoellkopf Power Station No. 1; it would operate until 1904. In
1891, Schoellkopf Power Station No. 2 opened directly in front of the original, in the gorge
below the falls, with a higher 210 ft (64 m) drop. In 1914 and 1918, the company built
Schoellkopf Stations No. 3A and 3B respectively.

In 1886, the competing Niagara Falls Power Company, owned by the Cataract Construction
Company, built the Adams Power Plant. Between 1900 and 1904, the company built the

Powerhouse No. 2, bringing its total generators to 11.

In 1918, World War I led the power companies to merge into the Niagara Falls Power
Company. From 1921 to 1924, the company built Schoellkopf Station No. 3C next to the
previous ones. It contained three 25 Hz generators with a total capacity of 160 MW
(210,000 hp), bringing the Schoellkopf Power Stations to 19 generators with a capacity of
340 MW (450,000 hp).

On June 7, 1956, water seeping into a back wall caused the collapse of two-thirds of
Schoellkopf Power Station No. 3b and 3c, killing one worker and causing an estimated

$100 million in damage.

To replace the antiquated and now partially destroyed Schoellkopf power stations, the New
York Power Authority (NYPA) planned an $800 million power plant that would produce
2.4 GW. During planning, it was called the Niagara Power Project; later, it was named for

NYPA head Robert Moses.

In 1957, the United States Congress approved the project. Construction began that year,
although its completion would require the NYPA to gain the rights to 550 acres (220 ha)

of Tuscarora Indian Reservation for a new 1,900-acre (770 ha), 22-billion-US-gallon

51
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 54 of 103

(83,000,000 m3) reservoir. This it did in 1960, through a United States Supreme Court

decision, the Federal Power Commission v. Tuscarora Indian Nation.”

Note it is reasonable to conclude that the Federal Reserve Shareholders orchestrated
the 1956 collapse of two-thirds of Schoellkopf Power Station No. 3b and 3c
intentionally causing 100 million in damage to steal 800 million of the U.S. funds to
greatly expand the hydropower production of the Niagara Falls Dam to supply the
energy needs for future expansion of the Harvard mind control headquarters under
Lake Ontario. It also should be assumed that the Supreme Court Justices denied the
Tuscarora Indian Nation their rights to due process and rights to counsel allowing
the forging of the Federal Power Commission V. Tuscarora Indian Nation case. It
also should be assumed that all significant subversive activities accomplished by the
Supreme Court Justices rulings beginning in the 1950’s have been forged by the
Harvard Mind Control Headquarters using the Harvard Law School.

“Harvard University” from Wikipedia

“Harvard University is a private Ivy League research university in Cambridge,
Massachusetts, with about 6,700 undergraduate students and about 15,250 postgraduate
students. Established in 1636 and named for its first benefactor, clergyman John Harvard,
Harvard is the United States' oldest institution of higher learning. Its history, influence, and
wealth have made it one of the world's most prestigious universities The university is often

cited as the world's top university by most publishers.

Harvard Law School is one of the professional graduate schools of Harvard University
located in Cambridge, Massachusetts. Founded in 1817, it is the oldest continuously
operating law school in the United States and one of the most prestigious in the world. It
is ranked first in the world by the QS World University Rankings and the ARWU Shanghai
Ranking.”

52
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 55 of 103

“Massachusetts Institute of Technology” from Wikipedia

“The (MIT) is a private research university in Cambridge, Massachusetts. The Institute is
a land-grant, sea-grant, and space-grant university, with an urban campus that extends more
than a mile (1.6 km) alongside the Charles River. The Institute also encompasses a number
of major off-campus facilities such as the MIT Lincoln Laboratory, the Bates Center, and
the Haystack Observatory, as well as affiliated laboratories such as the Broad and
Whitehead Institutes. Founded in 1861 in response to the increasing industrialization of

the United States, MIT.”

Note Harvard University and MIT are both located in Cambridge, Massachusetts
with MIT being founded in 1861 the same year the Niagara Falls Hydraulic Power
and Manufacturing Company completed the first project linked to building the
Robert Moses Niagara Power Plant. It is reasonable to conclude due to Harvard
University tight connections with the Federal Reserve Shareholders and being located
in same town as MIT that Harvard University and MIT stealing U.S. funds and U.S.
Scholarships funds for immigrant students and immigrant professors designed the
Harvard mind control headquarters under Lake Ontario and the Robert Moses
Niagara Power Plant including all additions and improvements to the dam which
allows the daily stealing of massive amounts of hydroelectric power to fuel the
Harvard Mind Control Headquarters. It is also reasonable to assume Harvard
University and MIT play a major role in staffing the Harvard Mind Control
Headquarters under Lake Ontario. Each addition to the Niagara Power Plant was
likely linked to additional expansions of the Harvard Mind Control Headquarters

under Lake Ontario.

53
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 56 of 103

STANFORD UNIVERSITY is a private research university in Stanford, California.
Stanford known for its academic strength, wealth, selectivity, proximity to Silicon Valley,
and ranking as one of the world's top universities. The university was founded in 1885 by
Leland and Jane Stanford. Leland Stanford was a U.S. Senator and former Governor of

California who made his fortune as a railroad tycoon.

Note Stanford University was responsible for establishing all the Tech Companies in
Silicon Valley who moved in thousands of foreign operatives being members of the
global secret police by way of H1B Visas and being given stolen social security number
who later obtain fraudulent U.S. Citizenship who really worked in one of the two
mind control headquarters in western United States being Area 51 and the

Headquarters under the Columbia River between Washington State and Oregon.

Note by 1904, the Harvard Mind Control Headquarters was likely in full operation
with additional plans underway to begin in 1914 to provide for additional
improvements to the Niagara Falls Power Plant. Now it was the appropriate time to
fund the entire mind control system across the United States like Europe. The
Harvard University Economic professors and finance professors played a major role
in helping Harvard Professor of Economics A. Piatt Andrew play a crucial role in the

formation of the Federal Reserve System.

“A. Piatt Andrew” from Wikipedia

“Andrew joined Harvard as an economics instructor and professor, a position he held until
1909. During his time at Harvard, he was widely published in scholarly journals, wrote for
newspapers on business and economic topics, and counted a young Franklin Delano

Roosevelt among his students.

Following the Panic of 1907, Andrew was tapped by Senator Nelson Aldrich to work for a

newly formed congressional panel charged with studying the causes behind the financial

54
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 57 of 103

turmoil. Andrew served as an expert and editor for the National Monetary Commission,
helping produce the commission’s extensive reports describing the financial system in

other countries and the structural problems within the US financial system.

In 1909, Andrew, by now a well-known and recognized expert on financial and banking
issues, was appointed by President William Howard Taft to serve as director of the US
Mint. He quickly advanced within the Taft administration and was named an assistant

secretary of the Treasury Department in 1910

Later that year, Andrew was one of six men, including Sen. Aldrich, to attend a secret
meeting on Jekyll Island Georgia, that was organized under the ruse of a duck hunt. But
the group was actually there to develop a plan to restructure the country’s banking system,
the plan they developed was the basic foundation for what would eventually be the Federal

Reserve System.
After passage of the Federal Reserve Act in 1913, Andrew left the United States”

In November 1910, six men — Nelson Aldrich, U.S. Senator, A. Piatt Andrew, former
Harvard Professor of Economics, Henry Davison, banker and partner at J.P. Morgan,
Arthur Shelton, Secretary to Senator Nelsen Aldrich, Frank Vanderlip, successful banker,
and Paul Warburg, successful banker — met at the Jekyll Island Club, off the coast of
Georgia, to write a plan to reform the nation’s banking system. The meeting and its purpose
were closely guarded secrets, and participants did not admit that the meeting occurred until
the 1930s. But the plan written on Jekyll Island a foundation for what would eventually be

the Federal Reserve System.

Note that most of today’s Supreme Court justices attended Harvard University.
Harvard University Law School or Yale University Law University being the

dominate groomers of the U.S. Supreme Court Justices making sure they qualify

55
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 58 of 103

being required to not exhibit any hesitation in their thought processes to obey the
Secret Police inside the United States and without hesitation freely allowing their and
all federal judges orders, judgements, and rulings to be forged by the University and
College Law Schools mind control operators with no thoughts to expose the forgeries
that deny the U.S. citizens and U.S. Government their rights to due process for the
benefit of the Federal Reserve Shareholders. The Supreme Court Justices and all
federal judges are also aware that the attorney’s motions are also forged and
restricted denying the U.S. Citizens and U.S. government their rights to counsel.
There are numerous reasons to conclude it is the Harvard Mind Control Operators
that forge the rulings of the Supreme Court Justices that are clear violations of the
U.S. Constitution. The Supreme Court since the early 1900’s has not fulfilled their
moral obligations and their oath of office to uphold the U.S. Constitution and U.S.
Laws in agreement with the U.S. Constitution giving great reasons to conclude the
U.S Supreme Court Justices are also members of the U.S. Secret Police. There is
adequate justification to sue all members of the Supreme Court under the Patriot Act
due to being aligned with the Russian Secret Police and the Federal Reserve
Shareholders consistently in violation of the U.S. Constitution and U.S. Laws that

agree with the U.S. Constitution.

This denial of the U.S. Citizens and federal, state, and local governments rights to due
process and rights to counsel has allowed the United States to be invaded by
immigrants and their immigrant children born inside the United States not entitled
to U.S. Birthright Citizenship due to receiving birthright citizenship from their
parents’ native countries. This invasion of immigrants orchestrated by the Federal
Reserve Shareholders and the Harvard University Mind Control Headquarters
allows immigrant to steal U.S. Citizens social security numbers, to steal federal, state,

and local benefits, to illegally vote, to illegally use federal, state, and local courts, to

56
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 59 of 103

illegally enter the United States and to illegally file for asylum inside the United States,
to be illegally register in U.S. free public Schools, to steal massive amounts of U.S.
Scholarships, grants, etc., to steal U.S. jobs, to work in the illegal mind control
systems, to work in other illegal underground operations, to illegally work in federal,
state, and local governments, etc. All these benefits given to immigrants with
protection by the mind control operators and the immigrant cartels allows
immigrants inside the United States from all nations to financially and physically
attack the U.S. Citizens and the federal, state, and local governments daily inside the

United States.

Russia’s superiority to the United States can be concluded by:

e understanding the details of the society of OSOAVIAKHIM now known as

DOSAAF
e understanding the details of “SOVIET ALSOS AND OPERATION
OSOAVIAKHIM”

e understanding Russia’s was allowed to illegal acquire massive amounts of uranium
deposits

e understanding the United States having been invaded by as much as 86+million
immigrants from all nations using U.S. stolen social security while Russia has not

been invaded by immigrants.

There are great reasons to suspect that Russia’s space program, nuclear weapons, military
weapons, surveillance capabilities, mind control abilities, drones, aircrafts, ships, energy
supplies, etc. are far more advanced than the United States. This conclusion justifies why

all members of the International Space Station are required to speak Russian.

57
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 60 of 103

It is also reasonable to conclude that Russia’s Secret Police is in control of the United States

by being given control of the Harvard Mind Control Headquarters due to:

e Russia’s obvious superiority in all fields

e Russia being given obvious protection and funding by the Federal Reserve
Shareholders

e Russian President Vladimir Putin net worth recently reported to be as high as
$200 billion

It is reasonable to also conclude that the Harvard Mind Control Headquarters under the
control of the Russian Secret Police orchestrated the takedown of the World Trade Towers
on Sept. 11, 2001. It also should be assumed that the Russian Citizens living inside the
United States being members of Russia’s Secret Police and the U.S. Secret Police have
been strategically positioned to prevent a successful American Revolution against the
Federal Reserve Shareholders. It should also be assumed that Russia’s Secret Police and
the U.S. Secret Police inside and outside the United States have positioned the United
States nuclear stockpile, nuclear weapons, planes, ships, drones, etc. in such a way they
will pose no threat to Russian and Chinese troops assigned to accomplish mass executions

of U.S. citizens, and immigrants living inside the United States.

The Russian Secret Police inside and outside the United States could not accomplish the
mass executions of U.S. residents without the continual consistent help of the U.S. Secret
Police Force denying the U.S. Citizens and the federal, state, and local governments their
rights to due process and rights to counsel. The immigrants inside the United States using

stolen social security numbers being as many as 86+ million could not continue to exist

58
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 61 of 103

inside the United States without the continual protection of the Russian Secret Police inside

the United States and the U.S. Secret Police.

Since the 2016 Elections it has become more obvious the U.S. social media corporations
interfere in federal, state, and local elections, providing funding and support for immigrants
who have invaded of the United States participating in the overthrow of the federal and
State governments, and provide funding, support, and advertisement for U.S. legislation
and U.S. Supreme Court Rulings that clearly are in violation of the U.S. Constitution.
Oddly a majority of the top U.S. social media and social networking corporations were
cofounded or are led by immigrants not entitled to U.S. Birthright Citizenship having
foreign birthright citizenship.

Founders, ownership, and leadership history of the top U.S. social media and social

networking services in 2019

Facebook, Inc. is an American online social media and social networking service company
founded in Cambridge, Mass in Feb. 2004 now based in Menlo Park, California. It was
founded by Mark Zuckerberg, along with fellow Harvard University students and
roommates Eduardo Saverin, Brazilian Citizen, Andrew McCollum, Dustin Moskovitz and
Chris Hughes. Mark Zuckerberg, Chairman and CEO of Facebook met his future wife,
fellow Chinese student Priscilla Chan at Harvard and began dating in 2003. Zuckerberg
has also been very active in China, and he has been a member of Tsinghua University

business school's advisory board since 2014

Instagram now owned by Facebook is a photo and video-sharing social networking
service owned by Facebook, Inc. It was created by Kevin Systrom and Mike Krieger both

Stanford Graduates, and launched in October 2010.

59
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 62 of 103

Google now owned by Alphabet Inc. was founded in 1998 by Larry Page and Sergey
Brin, a Russian Citizen, while they were Ph.D. students at Stanford University in

California. Sundar Pichai an Indian Citizen is the current CEO of Google.

Alphabet Inc. parent company of Google is an American multinational conglomerate
headquartered in Mountain View, California. It was created through a corporate
restructuring of Google on October 2, 2015, and became the parent company of Google
and several former Google subsidiaries. The two founders of Google assumed executive
roles in the new company, with Larry Page serving as CEO and Sergey Brin, a Russian
Citizen as president. Alphabet is the world's fifth-largest technology company by revenue

and one of the world's most valuable companies.

YouTube now owned by Google is an American video-sharing website headquartered in
San Bruno, California near Stanford University. Three former PayPal employees—Chad
Hurley, Steve Chen a Chinese Citizen, and Jawed Karim a German Stanford Graduate—
created the service in February 2005. Google bought the site in November 2006 for
US$1.65 billion;

Blogger now owned by Google is a blog-publishing service that allows multi-user blogs
with time-stamped entries. It was developed by Pyra Labs co-founded by Evan Williams a
Stanford University Graduate while consulting for Intel and HP in the Stanford
University area and Meg Hourihan, which was bought by Google in 2003. In August 23,
1999, Blogger was launched by Pyra Labs. As one of the earliest dedicated blog-publishing
tools, it is credited for helping popularize the format. In F ebruary 2003, Pyra Labs was
acquired by Google under undisclosed terms. The acquisition allowed premium features
(for which Pyra had charged) to become free. In October 2004, Pyra Labs' co-founder,
Evan Williams, left Google.

60
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 63 of 103

Odeo was a directory and search destination website for RSS-syndicated audio and video.
It employed tools that enabled users to create, record, and share podcasts with a simple
Adobe Flash-based interfacewas originally developed in 2005"! by founders Noah Glass
and Evan Williams, who were the founders of Audioblog and Pyra Labs, respectively, and
received funding from Charles River Ventures. Subsequently, Williams bought out Charles
River's interest in the company, as well as that of several other investors, and re-formed
the organization under a new company, On February 19, 2007, Williams wrote in his blog
that Odeo was for sale. It was acquired soon afterwards by New York-based Sonic
Mountain who changed name to ODEO. Twitter was not sold under the ODEO sale to

Sonic Mountain.

Yahoo now owned by Verizon Media is an American web services provider
headquartered in Sunnyvale, California, and owned by Verizon Media. The original
Yahoo! company was founded by Jerry Yang and David Filo both Stanford University
graduates January 1994 and was incorporated on March 2, 1995. Jerry Chih-Yuan Yang
is a Taiwanese Internet entrepreneur, engineer, and programmer. He is the co-founder and

former CEO of Yahoo! Inc.

Verizon Media is a subsidiary of Verizon Communications. The CEO of Verizon Media
is K. Guru Gowrappan, an Indian Citizen former Executive of Alibaba Group (a
Chinese multinational conglomerate holding company specializing in e-commerce, retail,

Internet, and technology)

Verizon Communications Inc. is an American multinational telecommunications
conglomerate. Hans Vestberg is a Swedish businessman and CEO and Chairman of

Verizon Communications,

AOL American Online was one of the early pioneers of the Internet in the mid-

1990s, founded by Marc S. Seriff, Jim Kimsey, Steve Case and Willliam Von Meister now

61
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 64 of 103

owned by Verizon Media. William Von Meister the main developer is a German

Citizen whose father was godson of Kaiser Wilhelm, II.

Snapchat is a multimedia messaging app used globally, created by Evan Spiegel, Bobby
Murphy, and Reggie Brown, former students at Stanford University, and developed by
Snap Inc., originally Snapchat Inc. Snap Inc. is an American technology and camera
company, founded on September 16, 2011, by Evan Spiegel and Bobby Murphy based in
Santa Monica, California. It has four products: Snapchat, Spectacles, Bitmoji, and Zenly.
Oddly Snap Inc.:Chairman is Michael Lynton a Netherlands Citizen and Harvard
Graduate.

MSN, the web portal and collection of Internet services launch April 1995 by Microsoft
founded by Bill Gates and Paul Allen who attended Harvard University. Microsoft,
Inc. CEO from 2000-2014 was Steve Ballmer who attended Stanford University and
graduated from Harvard University. The current website and suite of apps offered by MSN
was first introduced by Microsoft in 2014 as part of a complete redesign and relaunch.
MSN is based in the United States and offers international versions of its portal for dozens

of countries around the world.

BuzzFeed, Inc. is an American Internet media, news and entertainment company with a
focus on digital media; it is based in New York City. BuzzFeed was founded in 2006 by
Jonah Peretti graduated from MIT and John S. Johnson III, to focus on tracking viral
content.

Twitter was created in March 2006 by Jack Dorsey, Noah Glass, Biz Stone, and Evan
Williams a graduate of Stanford University launched in July of that year. In 2004,
Costolo, along with Eric Lunt, Steve Olechowski, and Matt Shobe, founded the web feed
management provider FeedBurner. After Google bought FeedBurner in 2007, Dick Costolo
became an employee of the search giant. After the acquisition, Costolo began working in

other areas of Google. In July 2009, he left Google, and in September 2009 it was

62
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 65 of 103

announced that he was joining Twitter as its COO. Although his 2010 takeover as CEO.
Google did not purchase Twitter whose development was planned before Google’s
purchase of Blogger from Evan Williams. Instead Harvard Mind Control Headquarters
planned to control twitter by way of former Google executive Dick Costolo well trained
under Sergey Brin. Twitter development that should have given credit to Noah Glass who
was edge out by Evan Williams was intentionally delayed until after Google purchase of

Blogger also developed by Evan Williams.
“Twitter” From Wikipedia

“Since 2015 Twitter has been a hotbed of debates and news covering politics of the United
States. During the 2016 U.S. presidential election, Twitter was the largest source of
breaking news on the day, with 40 million election-related tweets sent by 10:00 p.m.

(Eastern Time) that day.”

Mockingbird Marketing -a premier partner of Google one of the co-founders was
Saikat Chakrabarti an Indian Citizen and graduate of Harvard University in computer
science engineering also connected to founding Stripes an internet payment system. Saikat
was involved with numerous start-ups in Silicon Valley. Chakrabarti was the Chief of Staff
for U.S. Representative Ocasio Cortez a Puerto Rican Citizen who aggressively used
twitter and his Mockingbird Marketing Agency to aid to over through conservative
Democratic members of the U.S. Congress and aid funding for lawyers supporting illegal
immigrants, etc. Chakrabarti is well connected to Silicon Valley and Wall Street
understanding the goals of the Russian Secret Police and the U.S. Secret Police in
relationship to framing U.S. President Trump out of office by way of the Mueller
Investigation. It is reasonable to conclude that Chakrabarti and his Indian Professor parents
are members of the Indian Secret Police residing inside the United States. Chakrabarti was

involved in Senator Bernie Sanders 2016 U.S. Presidential Campaign.

63
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 66 of 103

Note that most social media companies were founded by Harvard University, MIT,
and Stanford University graduates leading to conclude these social media companies
were developed by the Harvard, MIT, and Stanford University’s mind control system.
For these reasons and many more it is reasonable to conclude Harvard, Stanford, and
MIT University mind control operators developed all social media companies and
search engine companies and orchestrated all the sales of social media companies and
search engine companies. All social media companies were planned and established
for the benefit of the Federal Reserve Shareholders to control all nations’ government
and nations’ legitimate U.S. Citizens residing inside their native countries while
aiding immigrants to overthrow nations and frame nations’ legitimate citizens. Note
that many declared founders of social media companies either had one foreign
immigrant cofounder or the current CEO and/ or Chairman is a foreign immigrant.
It is clear that social media companies interfere with the federal and state
governments which no immigrant is allowed to participate under the Alien
Registration Act of 1940. All social media corporations are aware of their fraudulent
social media accounts and the hacking of their systems producing fraudulent posts
for their real customers like Donald Trump. The social media companies mostly
located in Silicon Valley and Seattle Washington hire thousands of members of the
global Secret Police by way of H1B Visas. These H1B Visas Secret Police employees
work in the 2 United States western mind control headquarters and inside these social
media tech companies aiding immigrants in interfering with federal, state, and local
governments while restricting, altering and deleting truthful posts of real authentic
US. Citizens like Vicki Fanning McLean. Google from 2014-2016 froze as much as 3

to 4 Gmail accounts of Vicki McLean just to keep her off their server.

64
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 67 of 103

The Russian Secret Police inside the United States and all 4 U.S. mind control
headquarters are staff with foreign secret police who are employed by the social
media companies, internet companies, tech companies, U.S. Ivy League Universities,
etc. The mind control operators of the 4 U.S. mind control headquarters staff with
Foreign Secret Police and U.S. Secret Police who are controlled by the Russian Secret
Police have access to all social media accounts, to all voting machines, all financial
accounts, all cryptocurrency accounts, all computer systems of the governments and
corporations, and the entire federal court electronic systems, etc.. The Russian Secret
Police, global Secret Police, and U.S. Secret Police are able to illegally control all U.S.
elections, U.S. politics, and federal, state, and local courts and governments by
establishing fake accounts, posting forged social media posts for actual high-profile
U.S. political candidates, hacking all U.S. voting machines by way of MEMS
technology that works through the movement of ions like a magnet, forging federal
judges orders and attorneys motions, stealing funds from U.S. Citizens and federal,
state and local government financial accounts to fund political events, candidates,
immigration lawyers, immigrants, lobbying activities, high profile protests, go fund
me posts, etc. All the obvious hacking of corporations and government accounts are
never challenged properly by the corporations, governments, FBI, or CIA. There is
great certainty that all social media corporations are aware of the constant hacking
of their systems creating forged postings that is subversive to overthrow the federal,
state, and local governments. The fact that many of the top social media corporations
are controlled or operated by foreigners would be a violation of the Sedition Act of
1918, Espionage Act Of 1917 and 1939, Alien Registration Act of 1940 by the Social
Media Corporations knowingly allowing foreigners to interfere with the federal, state,
and local governments. The forging of U.S. President Donald Trump twitter postings

is extremely serious and has not been addressed or even mentioned. Surely Vicki

65
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 68 of 103

McLean’s posts about the forging of Donald Trump’s twitter postings have been

deleted by the social media corporations’ employee under top management authority.
“Bitcoin” from Wikipedia
Bitcoin” from Wikipedia

“Bitcoin (B) is a cryptocurrency, a form of electronic cash. It is a decentralized digital
currency without a central bank or single administrator that can be sent from user to user

on the peer-to-peer bitcoin network without the need for intermediaries.

Transactions are verified by network nodes through cryptography and recorded in a public
distributed ledger called a blockchain. Bitcoin was invented by an unknown person or
group of people using the name Satoshi Nakamoto and was released as open-source

software in 2009”

“Use in illegal transactions

See also: Bitcoin network § Alleged criminal activity

The use of bitcoin by criminals has attracted the attention of financial regulators, legislative
bodies, law enforcement, and the media. In the United States, the FBI prepared an
intelligence assessment, the SEC issued a pointed warning about investment schemes using
virtual currencies, and the U.S. Senate held a hearing on virtual currencies in November
2013. The U.S. government claimed that bitcoin was used to facilitate payments related to

Russian interference in the 2016 United States elections.

Several news outlets have asserted that the popularity of bitcoins hinges on the ability to
use them to purchase illegal goods. Nobel-prize winning economist Joseph Stiglitz says
that bitcoin's anonymity encourages money laundering and other crimes, "If you open up
a hole like bitcoin, then all the nefarious activity will go through that hole, and no
government can allow that." He's also said that if "you regulate it so you couldn't engage

in money laundering and all these other [crimes], there will be no demand for Bitcoin. By

66
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 69 of 103

regulating the abuses, you are going to regulate it out of existence. It exists because of the

abuses."

In 2014, researchers at the University of Kentucky found "robust evidence that computer
programming enthusiasts and illegal activity drive interest in bitcoin, and find limited or
no support for political and investment motives". Australian researchers have estimated
that 25% of all bitcoin users and 44% of all bitcoin transactions are associated with illegal
activity as of April 2017. There were an estimated 24 million bitcoin users primarily using
bitcoin for illegal activity. They held $8 billion worth of bitcoin, and made 36 million

transactions valued at $72 billion.”

“Cryptocurrency and Security” from Wikipedia
“Notable thefts

In 2018, around US $1.7 billion in cryptocurrency was lost due to scams theft and fraud.
In the first quarter 2019, the amount of such losses was USD $1.2 billion.

Exchanges

Notable cryptocurrency exchange hacks, resulting in the theft of cryptocurrencies include:

¢ Bitstamp In 2015 cryptocurrencies worth $5 million were stolen

e Mt. Gox Between 2011 and 2014, $350 million worth of bitcoin were stolen

¢ Bitfinex In 2016, $72 million were stolen through exploiting the exchange wallet, users
were refunded.

¢ NiceHash In 2017 more than $60 million worth of cryptocurrency was stolen."

« Coincheck NEM tokens worth $400 million were stolen in 2018
« Zaif $60 million in Bitcoin, Bitcoin Cash and Monacoin stolen in September 2018

“Satoshi Nakamoto” from Wikipedia

“Satoshi Nakamoto is the name used by the unknown person or persons who developed
bitcoin, authored the bitcoin white paper, and created and deployed bitcoin's original

reference implementation. As part of the implementation, they also devised the first

67
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 70 of 103

blockchain database. In the process, they were the first to solve the double-spending
problem for digital currency using a peer-to-peer network. They were active in the

development of bitcoin up until December 2010.”

Note Bitcoin is one of the most popular and successful of all cryptocurrencies. It is
reasonable to assume that Harvard University under the control of the Russian Secret Police
and the Harvard Mind Control Headquarters were the real developers of Bitcoin. Bitcoin
is based on Linux which is based on the Unix Shell that was founded by Bell Labs in
Boston, Mass. Reasonable to conclude that Harvard University was the founder of Unix
well connected to Russia Secret Police and Harvard Mind Control Headquarters. Harvard
University economics and finance departments were likely the developer of the U.S. 1907
Panic, U.S., Federal Reserve System of 1913, U.S. 1929 Great Depression, U.S. 2008-2010
Banking and Mortgage Crisis, and 2010 U.S. Banking Bailouts supplying their Harvard
Professor Elizabeth Warren to chair the Congressional Oversight Panel to prevent the daily
massive hacking of U.S. financial accounts of banks, investment firms, brokers,
corporations, non-profit corporation, religious corporations, etc. by the Global Secret
Police and the 4 U.S. Mind Control Headquarters from being exposed by not ordering the
proper independent audits of the banks under the Federal Reserve System that would
expose the daily hackings of all banks’ mortgage and bank loan applications, and the bank
clients bank accounts to protect the Federal Reserve Shareholders continuous theft of 7+
trillion of U.S. government, corporation, U.S. Citizens, non-profit corporation, religious
entities, etc. funds every year and moved overseas. The Federal Reserve System was the
ultimate entity responsible for all bank fraud and bank insolvency having been given
authority over all banks required to make sure their internal and external control over all

bank activities were adequate.

68
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 71 of 103

When it involves money, it should be assumed Harvard University was the developer of
the plan or technology since the Harvard University Economists were responsible for the
underwriting of the Federal Reserve Act of 1913. Cryptocurrencies were developed to
make it easy for the Global Secret Police and all Global mind control headquarters to
money launder money, items, and services secretly for the Federal Reserve Shareholders.
Only the U.S. Congress under the U.S. Constitution has the authority to coin money used
inside the United States. Cryptocurrencies are a form of money that has been coin illegally

not authorized by the U.S. Congress.

The true identity of Satoshi Nakamoto the developer of Bitcoin inside the United States
has yet to be properly investigated by the FBI who has been involved in numerous Bitcoin
Heists inside and outside the United States. How can the FBI have properly investigated a
massive Bitcoin Heist at an exchange without having investigated Bitcoin’s original
computer source (linked to Linux and Unix developed by Bell Labs located in Boston) and
the developer said to be Satoshi Nakamoto? When investigating a massive Bitcoin heist at
an exchange surely the many Bitcoin exchanges have enough computer data to identify
every Bitcoin stolen and its’ previous transactions prior to theft. Surely within the massive
group of bitcoins stolen at the same exchange at the same time there are at least 100 bitcoins
and possible hundreds of bitcoins that have been used for money laundering activities being
the motive for the massive bitcoin heist at the same exchange occurring at the same time.
The FBI being the U.S. Secret Police has and continues to cover up all the money
laundering activities involving bitcoins that have been stolen and reported by exchanges
inside and outside the United States. How can an attorney represent immigrants illegally
in federal court with fraudulent identities labeling the plaintiffs as Jane Doe? How can any
attorney represent or file against a fictitious person? The Bank Secrecy Act requires the
true identity of a person not allowing the use of stolen falsified documentation, a stolen

social security number, a fictitious name established in the United States illegally and/or

69
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 72 of 103

illegally from their native country. So how can the federal, state, and local governments
issue judgements for immigrants and fraudulent citizens’ using stolen identity? How can
the FBI be allowed to never verify the true founder of Bitcoin’s and the origination of
Bitcoin’s source code used for money laundering transactions all over the globe needed to
determine financial liability in a Bitcoin Heist? How can any court in the United States
issue U.S. Citizenship, a ruling and a judgement with or without payment to someone with

a fictitious identity using stolen documentation?

This is why bitcoin was used to facilitate payments related to Russian interference in the
2016 United States elections and former FBI Director Robert Swan Mueller who has
shielded the true identity of the founder of Bitcoin was chosen as Special Counsel related
to Russian hacking of the 2016 Election. The Foreign Intelligence Surveillance Court needs
to identify the true developer or developers of bitcoin linked to all money laundering using
bitcoins and identify the original source code with their developers as far back as Bell Labs
in the 1960’s and 1970’s to properly access liability for money laundering when

cryptocurrencies are involved.

All cover ups by FBI back till 2001 has been addressed in U.S. District Court of Eastern
Louisiana in New Orleans filed for the U.S. Citizens on 12/19/2017 under case # 17-17483
being listed in this case as Exhibit 14. All illegal actions by U.S. agencies under the
Executive branch back till 1924 has been addressed in U.S. District Court of Eastern
Louisiana in New Orleans filed for the U.S. Citizens on 1/30/2018 under case # 18-911
being listed in this case as Exhibit 15. All illegal actions by the U.S. Congress back till the
passage of the unconstitutional Federal Reserve Act of 1913 has been addressed in U.S.
District Court of Western Texas in Austin filed for the U.S. Citizens on 11/29/2018 under
case # 18-1021 being listed in this case as Exhibit 6. All illegal actions by the Universities
and Colleges illegal mind control systems has been addressed in U.S. District Court of

Eastern Louisiana in New Orleans filed for the U.S. Citizens on 6/06/2017 under case #

70
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 73 of 103

17-5578 being listed as in this case as Exhibit 16. All attacks by weather satellites and
nuclear submarines using the HAARP Patents and fueled by nuclear research reactors has
been addressed in U.S. District Court of Eastern Louisiana in New Orleans filed for the
U.S. Citizens on 11/20/2017 under case # 17-12760 being listed as in this case as Exhibit
17. All exhibits filed in this case provide additional arguments supporting claims in this
case which address entities, governments, and individuals linked to the operating with the

Russian Secret Police for the Federal Reserve Shareholders.

In 2012, while Robert Mueller was still director of the FBI there were numerous bitcoin
heists at exchanges that required Satoshi Nakamoto to be properly identified with
identifying all the bitcoins stolen and the stolen bitcoins’ previous transactions. This better
explains why U.S. Deputy Attorney General Rod Rosenstein appointed Robert Mueller to
serve as special counsel for the United States Department of Justice so the continual
unprofessional investigations of Bitcoin usage, Bitcoin’s money laundering, and Bitcoin’s
theft continued. In his capacity as special counsel, Mueller oversaw the investigation into
"any links and/or coordination between the Russian government and individuals associated
with the campaign of President Donald Trump, and any matters that arose or may arise

directly from the investigation".

Surely Robert Mueller and Rod Rosenstein having been assigned to investigate the
Uranium One Deal in the past knew the many motives as to why Russia’s President
Vladimir Putin would not want Hillary Clinton as the U.S. President linked to the illegal
acquisitions of United States uranium deposits through Uranium One by Russian
Federation under Russian President Vladimir Putin. Mueller and Rosenstein also knew
about the Clinton Foundation’s links to Gulftainer, USA and their Russian Partner

Prominvest, Rosoboronexport, and Rostec acquiring a 35-year lease at the Cape Canaveral.

It is reasonable to assume Harvard University, Russian Secret Police, and Harvard Mind

Control Headquarters are the developers of all cryptocurrencies including Facebook’s

71
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 74 of 103

Libra for the benefits of money laundering for the Federal Reserve Shareholders. Harvard
University, Russian Secret Police, the Harvard Mind Control Headquarters, and the U.S.
Secret Police would share liability for money laundering activities using cryptocurrencies
and the theft of cryptocurrencies. This further concludes why the FBI under Directors
Robert Mueller and James Comey never investigated the original founder and original

source code for Bitcoin.

The Federal Reserve System is ultimately liable for all the internal and external controls
over the banks under their supervision required to properly identify an individual or entity
so not to be in violation of the Bank Secrecy Act of 1970. In fact, it would be proper to
conclude the Federal Reserve System is ultimately responsible for aiding and abetting
immigrants and fraudulent U.S. Citizens using stolen social security numbers to overthrow
the United States Government. If the Federal Reserve System had properly fulfilled all its’
responsibilities under the Federal Reserve Act of 1913 and the U.S. Constitution not one
immigrant or fraudulent U.S. Citizen using a stolen social security number and entity
established using a stolen social security number would have been allowed to receive any
financial payment by way of a financial institution inside the United States making
employment and establishment of businesses inside the United States and theft of federal,

state, and local benefits almost impossible for immigrants inside the United States.

Under the U.S. Laws Countering Russian Influence in Europe and Eurasia Act of 2017 and
Countering America’s Adversaries Through Sanctions Act of 2017, all entities associated
with Russia is required to be sanction. The entities directly linked to aiding Russia’s illegal
influence and control of the U.S. weather, U.S. power grids, U.S. airports and ports, U.S.
Elections, U.S. Political processes, U.S. federal, state, and local court systems, U.S.
financial transactions within the United States, the U.S. Citizens, and U.S. federal, state,
and local governments are also required to be sanctioned with all the Russian agencies

involved. All defendants listed in this case have a direct relationship with a Russian entity

72
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 75 of 103

linked to subversive activities against the U.S. government and U.S. Citizens who govern

the United States.

The U.S. universities and colleges, social media corporations, U.S. non-profit
organizations, U.S. religious organizations, foreign corporations, foreign non-profit
corporations, cryptocurrencies, etc. associated with Russia’s illegal influence and control
of the U.S. weather, U.S. power grids, U.S. airports and ports, U.S. Elections, U.S. Political
processes, U.S. federal, state, and local court systems, U.S. financial transactions within
the United States, the U.S. Citizens, and U.S. federal, state, and local governments are also
required to be sanctioned with all the Russian agencies involved. Vicki McLean has only
listed the universities and colleges directly linked to the altering and forging of her federal
cases since 2007, harassments and retaliations against the McLean and Fanning Family
Clan, medical murder of James McLean on 3/11/2001, hanging of Alex Fanning in the
home of plaintiff Louis Fanning, Jr. in Dallas in May, 2018 falsely claimed as a suicide the
month after New Orleans FISC case 18-3462 Vicki McLean ET AL, EX REL USA VS
Federal Reserve System, ET AL was filed.

ARGUMENT

Exhibit 1 - Russian Federation’s Constitution of 1993 with Amendments through
2008

“SECTION 1
CHAPTER 1: THE BASIS OF THE CONSTITUTIONAL SYSTEM,

Article 6* Requirements for birthright citizenship

73
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 76 of 103

1. Citizenship of the Russian Federation shall be acquired and terminated in accordance
with federal law, and shall be one and equal, irrespective of the grounds on which it is
acquired. 2. Every citizen of the Russian Federation shall enjoy all rights and freedoms
on its territory and shall bear equal responsibilities as envisaged in the Constitution of the
Russian Federation. 3. A citizen of the Russian Federation may not be deprived of his

(her) citizenship or of the right to change it.
CHAPTER 2: HUMAN AND CIVIL RIGHTS AND FREEDOM
Article 61

1. A citizen of the Russian Federation may not be deported from the Russian Federation
or extradited to another state. 2. The Russian Federation shall guarantee its citizens

protection and patronage abroad.
Article 62

1. A citizen of the Russian Federation may have citizenship of a foreign state (dual
citizenship) in accordance with federal law or an international treaty of the Russian

Federation.

2. The possession of foreign citizenship by a citizen of the Russian Federation shall
not diminish his (her) rights and freedoms and shall not release him from
obligations stipulated for Russian citizenship, unless otherwise specified by federal
law or an international treaty of the Russian Federation. 3. Foreign citizens and
stateless persons shall enjoy rights and bear obligations in the Russian Federation on a
par with citizens of the Russian Federation, except in those cases envisaged by federal

law or by an international treaty of the Russian Federation.

74
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 77 of 103

CHAPTER 4: THE PRESIDENT OF THE RUSSIAN FEDERATION
Article 86

The President of the Russian Federation: a. shall direct the foreign policy of the Russian
Federation; b. shall hold negotiations and sign international treaties of the Russian

Federation;
* Treaty ratification

c. shall sign instruments of ratification; d. shall receive letters of credence and letters of

recall of diplomatic representatives accredited to his (her) office.
Article 87

1. The President of the Russian Federation shall be the Supreme Commander-in-Chief of

the Armed Forces of the Russian Federation.
¢ Designation of commander in chief

2. In the event of aggression against the Russian Federation or of a direct threat of
aggression, the President of the Russian Federation shall introduce martial law on
the territory of the Russian Federation or on certain parts thereof and shall
immediately inform the Council of Federation and the State Duma of this. 3. The regime

of martial law shall be defined by federal constitutional law.
Article 89° Head of state powers

The President of the Russian Federation: a. shall decide on issues of citizenship of

the Russian Federation and of granting political asylum;
Article 90

1. The President of the Russian Federation shall issue edicts and regulations. « Head of

state decree power 2. The edicts and regulations of the President of the Russian

75
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 78 of 103

Federation shall be binding on the entire territory of the Russian Federation. 3. Edicts and
regulations of the President of the Russian Federation must not conflict with the

Constitution of the Russian Federation and federal laws.
Article 91° Head of state immunity

e. announcement of elections of the President of the Russian Federation; f. impeachment
of the President of the Russian Federation; g. appointment of judges of the Constitutional
Court of the Russian Federation, of the Supreme Court of the Russian Federation, and of

the Supreme Arbitration Court of the Russian Federation;
* Constitutional court selection

h. appointment and dismissal of the Prosecutor General of the Russian Federation; 1.
appointment and dismissal of the deputy Chairman and half of the auditors of the

Accounts Chamber.
CHAPTER 5: THE FEDERAL ASSEMBLY

Article 102

1. The following shall be within the jurisdiction of the Council of Federation: a.

approval of border changes between constituent entities of the Russian Federation;
¢ Second chamber reserved policy areas

b. approval of edict of the President of the Russian Federation on the introduction of

martial law;
¢ Second chamber reserved policy areas

c. approval of edict of the President of the Russian Federation on the introduction of a

state of emergency;

¢ Emergency provisions * Second chamber reserved policy areas

76
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 79 of 103

d. deciding on the possibility of using the Armed Forces of the Russian Federation

outside the territory of the Russian Federation;”

All Soviet Union and Russian Citizens living aboard with their children even when
acquiring U.S. Citizenship have Russian Birthright citizenship. Only upon renouncing
ones Russian Citizenship does a Soviet Union Citizen or Russian Citizen with their
children living aboard would officially lose their Russian Citizenship. The Russian
Constitution clearly states The Russian Federation shall guarantee its citizens
protection and patronage abroad even when dual citizenship is involved. Russian
Citizens having dual citizenship still have obligations stipulated for Russian Citizenship
like responsibility to pay taxes to Russia on their foreign earned income. The Russia
Citizen must officially renounced ones’ Russian Citizenship to be freed from Russian

Citizenship obligations.

Exhibit 2 - “Citizenship of Russia” From Wikipedia
“Citizenship act of 1991

In accordance with Article 13, former Soviet citizens among permanent residents on
February 6, 1992 of the RSFSR were recognized as RSFSR citizens. Those who
expressed their will not to become RSFSR citizens until February 6, 1993 were not
recognized as RSFSR citizens. Supreme Council decree N 5206/1-1 recognized the

following as Russian citizens:

e those who left the RSFSR before February 6, 1992 for study, work, treatment, or
personal reasons and returned after February 6, 1992

¢ military personnel of RSFSR abroad

77
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 80 of 103

Former Soviet citizens who were born on December 30, 1922 or later on Russian territory
or to a Soviet citizen who was a permanent resident of the RSFSR at the birth of his or

her were recognized as if they had been RSFSR citizens by birth (see Case of Smirnov).
Russian citizenship could be acquired:

e by birth

e by registration

e by naturalization

e by restoration of citizenship
e by opt

« by following parents’ citizenship”
“Compatriots act of 1999

In 1999, in spite of the veto of the President, the Federal Assembly adopted the Act on
the state policy on compatriots abroad. Article 11 stated that all former Soviet citizens
and their descendants should be recognized as Russian citizens unless they had
declared their intentions to be citizens of foreign states. However, this article was
revoked in 2002 and persons under this article are not generally recognized by executive
or court authorities of Russia as citizens of the Russian Federation unless they received
documents of Russian citizenship before the article's revocation. No official comments
have been given as to how this article should be interpreted. Oleg Kutafin, the chairman
of the Presidential Committee on citizenship, criticized this Act in his book Russian
Citizenship (ISBN 5-7975-0624-6), but the legal consequences of this Act were not

analyzed there.”

78
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 81 of 103

Citizenship act of 2002

“In 2002, a new citizenship act, supported by President Vladimir Putin, replaced the act
of 1991.

Russian citizenship could be acquired:

¢ by naturalization
e by restoration of citizenship

¢ by following parents' citizenship

The rules of citizenship by birth generally follow the principle of jus sanguinis, though a

child can be recognized as a Russian citizen in several special cases:

e neither parent, both of whom are permanent residents of Russia, is a Russian
citizen, but the child is born in Russia and does not acquire any other citizenship
¢ the child is found abandoned on Russian territory and the parents remain unknown

for more than six months
Naturalization is usually granted if the applicant meets the following requirements:

¢ has been a resident of Russia for not less than five years
e promises lawful behavior
e has a legal source of income

* speaks Russian

In certain cases, some or even all of the above requirements can be waived by an
Executive Order of the Russian President, as happened on 3 January 2013, when Russian

President Vladimir Putin signed an Executive Order granting Russian citizenship to

79
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 82 of 103

French-born actor Gérard Depardieu, citing authority granted under Article 89(a) of the

Constitution of the Russian Federation.

Citizenship of children (persons under 18 years of age) generally follows the citizenship
of their parents. If one or both parents obtain Russian citizenship, their children become
Russian citizens as well. If one or both parents lose Russian citizenship, their children
lose it too. A child can acquire or relinquish Russian citizenship by the application of his

parents, but at least one parent must be a Russian citizen in this case.
In jurisdiction courts, including the Supreme Court of the Russian Federation.

The position of the executive officers and the courts was that Smirnov, in accordance
with 2002 Act Article 13 of the Citizenship Act, was a former citizen of the Russian
Federation, but not a citizen of the Russian Federation since February 6, 1992. He did

have the option to apply for Russian citizenship through registration.

However, the Russian Federation Constitutional Court ruled that 2002 Citizenship Act
Article 18 was not in conformance with the Constitution, as the registration procedure of

Article 18 could be applied to Russian citizens by birth; that is, those persons who:

e were born in the territory of the RSFSR

e were citizens of the USSR

¢ did not renounce Russian citizenship

« relocated to another Soviet republic

* were not citizens of another Soviet republic

e eventually returned to Russia

There is an opinion that this ruling determines that every former citizen of the USSR who

was born in the territory of the RSFSR and never renounced Russian citizenship is a

80
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 83 of 103

Russian citizen by birth, even if he also has foreign citizenship. This opinion is based on
the Court's interpretation of Article 6 of the Constitution given in the text of the decision:
"such persons... cannot lose Russian citizenship unless they explicitly expressed their will

9 99

to give it up”.

Note the importance of the timing of the Russian Federation Citizenship Act of 2002
in relationship to the takedown of the World Trade Towers on Sept. 11, 2001 and all
related investigations. This Citizenship Act of 2002 in direct conflict with the
Russian Federation Constitution allowed the President of the Russian Federation to
deny Russian Citizenship to Russian Citizens under the Russian Federation
Constitution due to living aboard. This gives the Russian Federation President being
the head of the Russian Secret Police the power to decide to grant or not grant
Russian Citizenship to Russian Citizens living aboard after having been able to
access Russian Federation’s liability of allowing a Russian Citizen living abroad like
Sergey Brin or any other member of the Russian Secret Police living abroad to
claim Russian Citizenship. The President of the Russian Federation has the power
to bring charges against any Russian Citizen. It is reasonable to assume that
Russian Citizens living abroad having dual citizenship have not reported their
earned income aboard to the Russian Federation government for the benefit of the
Federal Reserve Shareholders. This violation of Russian Federation Law easily
allows the President of the Russian Federation to indict and arrest most Russian
Citizens living aboard inside the United States. This drastic change in Russian
Federation Citizenship laws in 2002 gives greater reasons to conclude that the
Russian Secret Police inside and outside the United States were the leaders
orchestrating the takedown of the World Trade Towers on Sept. 11, 2001 for the
benefit of the Federal Reserve Shareholders. It is also reasonable to conclude

Harvard University, and the Harvard Mind Control Headquarters designed the

81
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 84 of 103

U.S. Naturalization Laws of 1924 and 1952 and was involved in helping the Russian
Federation Secret Police design the Russian Federation Citizenship Act of 2002
giving the Russian Federation President the power to decide who was allowed to
maintain their Russian Citizenship while living aboard especially since the U.S.
Nationalization Laws could deny the Russian Citizen dual citizenship due to fraud
during U.S. Citizenship application or violation of the Alien Registration Act of
1940. Robert Mueller, James Comey, and Christopher Wray roles in the 9/11/2001
investigations and their cover ups better explains why all three have been involved
in the investigations linked to framing U.S. President Trump linked to Russian
Intelligence interference in the 2016 U.S. Presidential Elections and to Ukraine
requesting former U.S. Vice President Joe Biden a member of the Obama
Administration be investigated linked to his son Hunter Biden and Burisma
Holding, Inc. involvement in removing Ukraine’s uranium from Ukraine’s uranium

reserves illegally for Russian Federation.

The series of indictments that resulted from the Special Counsel Robert Swan
Mueller investigations clearly involves the framing of low level Russian Agents for
the Russian Federation to threaten all Russian and U.S. Secret Police and others in
high level positions involved in past Ukraine activities especially linked to the theft
of Ukraine’s uranium reserves and Ukraine’s archives of records about the Soviet
Union NKVD and KBG activities, Uranium One Deal, Gulftainer, USA leases inside
the United States, and U.S. military operations overseas linked to covert operations
and theft of uranium involving the U.S. Military, U.S. Military Special Operations
Command, FBI, CIA and the Russia Secret Police. The indictments filed by Robert
Swan Mueller give no indication of the real motives for the indictments in the
United States District Court for the District of Columbia of the following
defendants. The following indictments filed by Attorney Robert Swan Mueller the

82
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 85 of 103

former U.S. FBI Director from 2001 -2013 should be considered as threats to all
individuals and entities used by the Russian Federation Secret Police and the
Federal Reserve Shareholders to care out espionage activities related to theft of
global uranium reserves, money laundering of the 7+ trillions of U.S. Funds by the
Federal Reserve Shareholders overseas, global underground mind control

operations, etc.:

1:18-cr-00215-ABJ USA VS Viktor Borisvick Netyksho, et al
1:18-cr-00218-TSC | USA VS MARIA BUTIN

1:17-cr-00232-EGS > USA VS MICHAEL FLYNN
1:17-cr-00201-ABJ USA VS PAUL MANAFORT, KONSTANTIN

KILIMNIK
1:17-cr-00544-NGG USA VS MICHAEL LESLIE COHEN EASTERN
DISTRICT OF NEW YORK
1;19-cr-00124-ABJ © USA VS ROGER JASON STONE, JR.
1:18-cr-00024 USA VS RICHARD PINEDO
1:18-CR-0003 1 USA VS ALEX VAN DER ZWAAN

Exhibit 3 — U.S. District Court in District of Columbia 1:18-cr-00215-ABJ
USA VS Viktor Borisvick Netyksho, et al indictment filing by
Robert Swan Mueller

United States Federal law (8 U.S.C. § 1401) defines who is a United States citizen from
birth. The following are among those listed as persons who shall be nationals and citizens

of the United States at birth;

e ‘‘a person born in the United States, and subject to the jurisdiction thereof’ or
e ‘‘a person born in the United States to a member of an Indian, Eskimo, Aleutian, or

other aboriginal tribe’’ (see Indian Citizenship Act of 1924).

83
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 86 of 103

e ‘‘a person of unknown parentage found in the United States while under the age of
five years, until shown, prior to his attaining the age of 21 years, not to have been
born in the United States.

e ‘‘a person born in an outlying possession of the United States of parents one of whom
is a citizen of the United States who has been physically present in the United States
or one of its outlying possessions for a continuous period of one year at any time

prior to the birth of such person.

Note the U.S. Congress only giving naturalizations rights to children 5 years of age or
younger of unknown parentage indicates the U.S. Congress was likely aware that
Hitler used children as young as eight years of age as soldiers, porters, spies, couriers,
and human shields. The British in early 1900’s also used children in the military. The
U.S. Congress was also likely aware that the Fifth Column had taken over many of
the undeveloped countries in Mexico, Central America, South America, etc. For these
reasons it is an extreme national security risk to grant refugee status, trafficking
victim status, immigrant minor status, stateless person status, internally or displaced
person status, or asylum status to adults and to children over the age of five entering

the country alone from any country.

The key word that requires investigation for every individual situation born in the United
States to two undocumented and documented immigrants is often the word ‘‘jurisdiction.”’
The United States jurisdiction over a child born to documented legal immigrant parents
and undocumented immigrant parents illegally residing inside the United States not having
and having legal temporary or permanent residency status is limited to the jurisdiction of
the foreign country over the immigrant parents. United States must examine the
constitution and naturalizations laws of their parents’ native country to understand the

jurisdiction claimed by the native country of the immigrant parents. Most countries have

84
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 87 of 103

established laws governing the country’s jurisdiction over their citizens when residing
inside a foreign country, legally and illegally. The United States Congress under the U.S.
Constitution was given the power over commerce with foreign nations, not the U.S.
President. Therefore, the U.S. Congress must establish treaties and agreements with each
country to establish guidelines to enter the U.S. for employment with guidelines to grant
citizenship from the United States. For this reason, it is reasonable to assume that the U.S.
Congress assumes all countries claim jurisdiction over their citizens and the minors of their
citizens with details as to how they can leave their country and enter another country for
employment including detail guidelines on how their country approves a transfer of
citizenship or allowing dual citizenship to the United States. All countries also have laws

regarding income taxes owned to their government earned by their citizens aboard.

Clearly the United States can revoke any Immigrant’s U.S. Citizenship due to fraud who
has obtained U.S. Citizenship concealing the use of a stolen social security number,
concealing stolen U.S. and state education benefits, concealing stolen U.S. scholarship and
grant benefits, concealing other stolen U.S. and State benefits, and concealing their
participation in espionage activities inside the United States . Any of these actions would
violate U.S. laws and more specifically the U.S. Alien Registration Act, U.S. Sedition Act,
U.S. Espionage Act, U.S. Bank Secrecy Act, and the U.S. Patriot Act requiring
fingerprinting of the immigrant to be placed in a data base, revoking of the immigrant’s
U.S. Citizenship, and deportation of the immigrant permanently. Children of immigrants
do not become U.S. Citizens by way of their parents acquiring U.S. Citizenship. The
children of immigrants cannot apply for U.S. Citizenship until age 18 and must be in
accordance to the U.S. Immigration and Naturalization Laws having not been in violation

of U.S. Laws.

The Russian Federation under their constitution and citizenship laws clearly claims

jurisdiction over their Russian Citizens and their Russian Citizens’ children born aboard

85
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 88 of 103

denying a Russian child born inside the United States rights to claim U.S. Birthright
Citizenship. Unless the Russian Citizen has renounced their Russian Citizenship, it should
be assumed, they are Russian Citizens with Russian Federation having primary jurisdiction

as claimed by Russian Federation Citizenship laws.

The Alien Registration Act of 1940 specifically addresses subversive activities of
immigrants and expanded the grounds for deporting aliens to include weapons
violations, drug violations adding heroin, and abetting illegal immigration. Title 1 of

the Alien Registration Act described subversive activities as anyone who:

... with intent to cause the overthrow of destruction of any such government, prints,
publishes, edits, issues, circulates, sell, distributes, or publicly displays any written or
printed matter advocating, advising, or teaching the duty, necessity, desirability, or
propriety of overthrowing or destroying any government in the United States by
force, violence, or attempts to do so; or .... Organizes or helps or attempts to organize
any society, group, or assembly of persons who teach, advocate, or encourage the
overthrow or destruction of any such government by force or violence; or becomes or
is a member of, or affiliates with, any such society, group, or assembly persons,

knowing the purposes thereof.
Alien Registration required:

The date and place of entry of the alien into the United States.
Activities in which he has been and intends to be engaged.
The length of time he expects to remain in the United States.

The criminal record, if any, of such alien.

wrk Y PS

Such additional matters as may be prescribed by the Commissioner of

Immigration and Naturalization.

86
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 89 of 103

Guardians had to register minors, who had to register in person and be fingerprinted

within 30 days of their 14“ birthday.

Aliens were to notify the government if their residence changed and confirm their

residence every 3 months.

The Alien Registration Act of 1940 was one of the many laws passed due to fear of the
success of the fifth columns in less fortunate countries. Surely the immigrants using
fraudulent social security numbers know their sources used to acquire the stolen social
security cards and know with certainty they will pass inspection when presented because
the social security number is a legitimate social security number belonging to a real
authentic U.S. citizen. An immigrant possessing a social security number allows the
immigrant to steal U.S. Scholarships and grants, steal Medicaid benefits, apply for food
stamps, apply for Housing funds and FEMA funds, apply for Welfare funds, and apply for
U.S. jobs that no immigrant has rights to inside the United States. Millions of immigrants
every year steal U.S. and State benefits without providing a cent to the U.S. and State
governments (the Federal Reserve Shareholders steal all the payroll deductions of an
individual using a stolen social security number) which has resulted in the huge U.S.
national debt which aids to weaken and overthrow the U.S. government when negotiating
with other countries. The possession of a stolen social security number is not simple
identity theft but an Alien Registration Act violation and an Espionage Act violation. This
violation requires immediate detention by DHS, fingerprinting, revoking of U.S.
Citizenship if acquired and permanent deportation without due process due to espionage
violation by an immigrant with notification of their native countries by way of an
international court and the United Nations notifying their native of foreign income earned

inside the United States.

Under the U.S. Constitution Article 1 Legislature Branch Sect 8 Powers of Congress

87
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 90 of 103

“Clause 3 To regulate Commerce with foreign Nations, and among the several States, and

with the Indian Tribes;

Clause 4 To establish a uniform Rule of Naturalization, and uniform laws on the subject of

Bankruptcies throughout the United States.

Clause 5 To coin Money, regulate Value thereof, and of foreign Coin and fix the Standard

of Weights and Measures;”

In 2011, United Arab Emirates based Ports and Logistics group Gulftainer, a subsidiary
of the Crescent Group of companies and the largest private port and logistics operator of
the Middle East signed a major joint venture agreement with Prominvest, the financial

and investment arm of Russian State Corporation, Russian Technologies.

The agreement was signed in the Black Sea city of Sochi in the Russian Federation
between Mr. Badr Jafar, Executive Director of the Crescent Group and Vice Chairman of
Gulftainer, Mr. Mikhail Shelkov, CEO of Prominvest and Vladimir Putin, Prime Minister
of the Russian Federation. Port of Sochi is likely used to export all uranium stolen from
Ukraine for Russia’s distribution explaining the positioning of Russian troops along the

Ukraine border and waterways to the Black Sea.

The new joint venture company, Gulftainer Russian Technologies will pursue
investments and management opportunities in the complete logistics chain within the
Russian Federation and the rest of the Commonwealth of Independent States (CIS)

including strategic port assets and related infrastructure.

In June 2014, Gulftainer signed a 35—year concession with the Cape Canaveral Port
Authority in Florida, USA to operate and develop its container and multipurpose cargo

terminal.

88
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 91 of 103

In September 2018, Gulftainer signed another contract in the USA, a 50-year concession
to operate the port of Wilmington, Delaware. The deal included a US$600 million

investment commitment and upgrades to training facilities and terminal capabilities.

Because Gulftainer has established a joint venture with Russian Federation, any contract
with Gulftainer is a contract with the Russian Federation being a foreign nation that falls
under the Powers of Congress. The State of Florida and the State of Delaware are in
violation of the U.S. Constitution having established these illegal foreign contracts with

the Russian Federation through Gulftainer.

In December 2016 President Obama placed sanctions on Russia due to Russian interference
in the 2016 U.S. Elections. U.S. Congress also placed sanctions on Russia in 2017 under
COUNTERING RUSSIAN INFLUENCE IN EUROPE AND EURASIA ACT OF
2017 and COUNTERING AMERICA’S ADVERSARIES THROUGH SANCTIONS
ACT OF 2017.

All Social Media Corporations used to interfere in the U.S. federal, state, and local
government operations are also adversaries of the U.S. Citizens and U.S. Governments and

in violation of Countering America’s Adversaries through Sanctions Act of 2017.

The FOREIGN INVESTMENT RISK REVIEW MODERNIZATION ACT OF 2018,
CUSTOMS MODERNIZATION AND INFORMED COMPLIANCE ACT OF 2018,
AND EXPORT REFORM ACT OF 2018 addresses the unconstitutional contracts
between Gulftainer, USA and the State of Florida and State of Delaware yet the FBI has

yet to address these violations at the same time sanctions against Russia were in placed in

2018.

89
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 92 of 103

Very few of the companies that Russia owns a significant percentage or has a joint
venture with operating inside the United States have been sanctioned. Uranium One
majority owned by Russia is required to be sanctioned under the U.S. Laws. Gulftainer,
USA having a joint venture with Prominvest since 2011 must also be sanctioned. Both
companies operating under Russian control pose a severe national security risk to the
United States. Many other companies listed as defendants having tight relations with the

Russian Federation also have not been sanctioned as required by U.S. Law.

Uranium One controls 20% of the U.S. uranium and is exporting a majority of their
uranium to Russia. The U.S. uranium assets have and continue to be exported to
Russia in violation of the International In Traffic In Arms. This exporting of the U.S.
uranium to Russia by way of Uranium One is a severe national security risk. The FBI
since 2009 have and continue to cover up this huge violation of U.S. Laws by Uranium
One that involved the Clinton Foundation that has a partnership with the Bill and
Melinda Gates Foundation and the Varkey Foundation. Bill Gates is founder of Terra

Power that has a close relationship with Rosatom.

Under the U.S. Constitution only the U.S. Congress has the power to coin money and
regulate it’s value. Only the U.S. Congress under the U.S. Constitution had the authority
to establish any cryptocurrency used inside the United States. The FBI once again refused
to address the establishment of cryptocurrencies in violation of the U.S. Constitution. The
FBI has and continues to assist in the mass money laundering of money, items, and services
by way of cryptocurrencies by not properly investigating the massive cryptocurrency heist

and the founder of Bitcoin.

90
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 93 of 103

The many ways the Federal Reserve Shareholders steal over 7+ trillion of U.S Funds and
U.S. Citizens and U.S. Corporations assets yearly were addressed in the following cases

being included as Exhibit 4 and Exhibit 5

Exhibit 4 -FISC case U.S. District Court of Eastern District of Louisiana, New
Orleans Division Vicki McLean, ET AL EX REL USA VS Federal Reserve System,
ET AL 18-CV-3462 filed April 2, 2018 under the Patriot Act under Judge Martin
Feldman.

Exhibit 5 - FISC case U.S. District Court of Eastern District of Louisiana, New
Orleans Division Vicki McLean, ET AL EX REL USA VS UNITED NATIONS, ET
AL 18-CV-3701 filed April 9, 2018 under the Patriot Act under Judge Martin
Feldman.

In the 2016 and 2018 Elections, the Russians hacked the voting machines in the same
matter using mems technology. The Russians Secret Police by way of the U.S. Mind
Control System headquarters set up the hack by making sure all the Women’s Republican
Parties instructed everyone to vote straight ticket. By punching one lever every republican
on the ticket was voted for by the voter in the booth. All the Russian, U.S. and other foreign
Secret Police inside the U.S. had to do was switch the lever off that voted for all candidates
listed under the republican or democratic party and then switch the lever to vote for one
candidate for U.S. President in the 2016 election to defeat massive numbers of republican
and democratic candidates while still making sure Donald Trump was elected with plans
to impeach him using Robert Swan Mueller. This same technic was likely used in Harris
County when voting for Senator Cruz to defeat all the republican candidates for judge seats.
This hacking technic obviously has been used over the last 10-40 years to defeat republican
and democratic candidates. This hacking technic was likely used to defeat Republican
Candidate Roy Moore for Alabama Senator Seat in 2016. Surely this hacking technic was
used to assure victory for all non-U.S. Citizen candidates for U.S. Congress that won in

2016 like Alexander Ocasio-Cortez a Puerto Rican Citizen , Ilhan Omar, a Somalian

91
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 94 of 103

Citizen, and Rashida Tlaib, a Palestinian Citizen all using stolen social security numbers
illegally claiming birthright citizenship or having entered the country illegally claiming
asylum having stolen federal and state benefits being in violation of the Alien Registration
Act of 1940. To protect the hackers of voting machines, auditors are not allowed to identify
a specific individual with a specific vote to determine if the voter voted straight party ticket
or only for voted for one candidate in the 2016 and 2018 elections. This is intentional lack
of internal and external controls for all elections processes in every State denying the U.S.
Citizens their U.S. Constitutional rights to a republic form of government. The hacking of
the United States, federal, state, and local elections by the Russian Secret Police surely has
been going on for more than 50 years and will continue until the HAARP mind control and

HAARP weather system is taken down inside the United States.

The denial of the U.S. Citizens rights to a republic form of government by the U.S.
Congress under the U.S. Constitution not properly vetting all States voter registration lists
and candidates properly for U.S. Citizenship and stolen social security numbers is
addressed in Exhibit 6 U.S. District Court of Western District of Texas, Austin Division
Vicki McLean, ET AL EX REL USA VS State of Texas, Secretary of State Elections
Division, ET AL A18-1021 filed Nov. 29, 2018 in greater detail. Many of the members
of the U.S. Congress being obvious fraudulent U.S. Citizens using stolen social security
numbers were listed as defendants. Many federal judges being obvious fraudulent U.S.

Citizens using stolen social security numbers were also listed.

Exhibit 6 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS State of Texas, Secretary of State Elections
Division, ET AL A18-CV1021RP filed Nov. 29, 2018 under the Patriot Act with
Judge Robert Pitman.

92
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 95 of 103

U.S. District Court of Western District of Texas, Austin Division Vicki McLean, ET AL
EX REL USA VS State of Texas, Secretary of State Elections Division, ET AL
A18-CV1021RP was altered and forged with the U.S. Attorney General obviously never
receiving his certified mailed of case A18-CV-1021RP due to no motion entered in the
case. A forged order and judgement of Judge Robert Pitman filed on June 18, 2019 was
addressed in a Motion to leave. All subsequent orders should be expected to be forged like
all previous filed federal EX REL USA cases filed by Vicki McLean beginning on Dec.
20, 2007 in New Orleans U.S. District Court Case 07-cv-0917 filed under Judge Thomas
Porteous initially prior to a forged order recusing Judge Porteous that lead to his
impeachment hearing and resignation in 2010. Likely Judge Thomas Porteous had no
knowledge of case 07-9717 being assigned to his court the main motive for his framing by
the federal, state, and local governments. Federal Judge Porteous case 07-9717 addressed
the obvious theft of 1-3 trillion of Medicare, Medicaid, and Private Insurance funds by the
Federal Reserve Shareholders linked to the motive for the take down of the World Trade
Towers on 9/11/2001. This was the reason why Vicki Fanning McLean was framed by
Montgomery County, Texas on 3/2/2008 while Porteous federal case 07-9717 was active
and being altered and forged, told to get out of Texas on March 22, 2008 by way of Timothy
and Kimberly McLean for the District Attorney Office of Montgomery County, Texas,
arrested in Dayton Ohio on falsified warrant on the anniversary of Hurricane Katrina hitting
New Orleans, transferred to Montgomery County, Tx by commercial airline flight on
anniversary of World Trade Towers on 9/11/2008, denied bail illegally, never allowed to
present in Montgomery County Judge Court of Judge Michael Mays to argue the lies being
presented by the Montgomery County District Attorney Office, witnesses, and Vicki
McLean’s assigned defense Attorney Walker. Vicki McLean was illegally detaining in jail
for 9 % months while Federal Judge Thomas Porteous was framed and brought up on
impeachment hearing by the U.S. House of Representative under the leadership of U.S.

Speaker of the House Nancy Pelosi. In mid-June 2009 Vicki McLean’s case was dismissed

93
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 96 of 103

by forgery due to insufficient evidence never having allowed Vicki McLean to meet in
court in front of Montgomery County Judge Michael Mayes. The State of Texas illegally
accomplished falsified mental diagnosis of Bipolar with psychotic features to accomplish
discrediting Vicki McLean as a sound mind legitimate federal whistleblower reporting
massive Medicare, Medicaid, and Private Insurance fraud and to the life, career history,
intellectual property illegally used in U.S. HAARP Patent 5041834, and medical murder
of her husband James McLean. James McLean’s work history and medical murder results
in Vicki McLean’s 50-100 year copyright of his intellectual property illegally used in U.S.
HAARP Patent 5041834. This was laid out in great details in appellant brief of U.S. District
Court of Eastern Louisiana Case, New Orleans Division 15-08 Vicki McLean VS Barack
Obama, ET AL on appeal in Fifth Circuit New Orleans District as 15-30345 that was
altered and forged also. The appellant brief was likely untampered for the protection of
Loyola University of New Orleans and Tulane University used to alter 15-08 case filings,
exhibits and motions and forge the orders of the Federal Judges and motions of the assistant
U.S. Attorneys in U.S. District Court and the Fifth Circuit Court. This brief is being placed
as an exhibit in this case as Exhibit 18 - United States District Court of Eastern Louisiana,
New Orleans Division 15-08 on appeal as 15-30345 U.S. Fifth Circuit Court of Appeal
Appellant Brief -Vicki McLean VS Barack Obama, ET AL.

Exhibit 7 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS State of Texas, Secretary of State Elections
Division, ET AL A18-CV1021RP filed June 25, 2019 Motion to leave to file motion
to vacate order and judgement filed June 18, 2019 due to forgery.

Several cases were filed in U.S. District Court of Western District of Texas under Judge
Robert Pitman under the Patriot Act against countries and their citizens, et al addressing

the espionage activities of the country’s citizens living inside the United States using stolen

U.S. Citizens social security numbers, stealing U.S. and State benefits, voting in U.S.

94
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 97 of 103

Elections, working in federal, state and local governments, stealing U.S. Scholarships,

working in the U.S. illegal mind control systems, etc.

Exhibit 8 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Mexico, Country of, ET AL A19-CV0591RP
filed June 10, 2019 under the Patriot Act with Judge Robert Pitman.

Exhibit 9 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS People’s Republic of China, Country of, ET AL
A19-CV0647RP filed June 25, 2019 under the Patriot Act with Judge Robert
Pitman.

Exhibit 10 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Puerto Rico, Territory of U.S., ET AL A19-
CV0648RP filed June 25, 2019 under the Patriot Act with Judge Robert
Pitman.

Exhibit 11 -U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Mexico, Country of, ET AL A19-CV0591RP
filed July 8, 2019 Affidavit of Service providing evidence of delivery but justifying
reasons the U.S. Attorney General never really received his delivery of case A19-
CV0591RP from the USPS as shown on the certified return receipt denying the U.S.
Citizens’ rights to counsel.

Exhibit 12- U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS People’s Republic of China, Country of, ET AL
A19-CV0647RP filed July 8, 2019 Affidavit of Service providing evidence of delivery
but justifying reasons the U.S. Attorney General never really received his delivery of
case A19-CV0647RP from the USPS as shown on the certified return receipt
denying the U.S. Citizens’ rights to counsel.

Exhibit 13 - U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Puerto Rico, Territory of U.S., ET AL A19-
CV0648RP. filed July 8, 2019 Affidavit of Service providing evidence of delivery but
justifying reasons the U.S. Attorney General never really received his delivery of
case A19-CV0648RP from the USPS as shown on the certified return receipt
denying the U.S. Citizens’ rights to counsel.

95
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 98 of 103

Exhibit 14 — U.S. District Court of Eastern Louisiana New Orleans Division Vicki
McLean, ET AL EX REL USA VS FBI, ET AL 17-17483 filed Dec. 19, 2017.

Exhibit 15 — U.S. District Court of Eastern Louisiana New Orleans Division Vicki
McLean, ET AL EX REL USA VS USS. Office of the President 1924 to present, ET
AL 18-911 filed Jan. 30, 2018

Exhibit 16 — U.S. District Court of Eastern Louisiana New Orleans Division Vicki
McLean, ET AL EX REL USA VS LOYOLA UNIVERSITY OF NEW ORLEANS,
ET AL 17-5578 filed June 6, 2017.

Exhibit 17 - U.S. District Court of Eastern Louisiana New Orleans Division Vicki
McLean, ET AL EX REL USA VS EUROPEAN UNION, ET AL case 17-12760 filed
Nov. 21, 2017.

Exhibit 18 - United States District Court of Eastern Louisiana, New Orleans
Division 15-08 on appeal as 15-30345 U.S. Fifth Circuit Court of Appeal Appellant
Brief -Vicki McLean VS Barack Obama, ET AL.

Exhibit 19 — Certified letter to Greystar, Inc. USPS tracking number7019 0700 0001
3467 8793 recording of continued harassment and retaliation of Vicki McLean by
Russian Secret Police using the Lone Star College mind control system while living
at The Cottages of Cypresswood 7203 Oakwood Glen Blvd. Apt. 804 Spring, Tx.
77379,

It is reasonable to assume all subsequent cases will also involve the forging of Judge
Robert Pitman orders and judgements and alterations of the original filing and exhibits
using the University of Texas and Texas A&M denying Vicki McLean, ET AL and the
U.S. Citizens and U.S. Government rights to due process and rights to counsel. It also
should be assumed this filing with exhibits will also be altered and forged denying the
assigned federal judge and the U.S. Attorney General knowledge of the case and denying
Vicki McLean, ET AL and the U.S. Citizens their rights to due process and rights to
counsel. It is reasonable to conclude that this case will involve the alteration of the filing

and the exhibits with the forging of the judge’s orders using Georgetown University and

96
Case 1:19-cv-03312-CKK Document 1 Filed 11/04/19 Page 99 of 103

George Washington University identical to Vicki McLean’s Washington D.C. case
against HAARP, ET AL for the U.S. Citizens filed on June 26, 2014 case 1:10-0176
under Judge Royce Lambert.

CONCLUSION

For the United States to be successful in freeing the U.S. Government and the U.S. Citizens

from the Federal Reserve Shareholders’ Control and stopping the Russian Federation

involvement in federal, state, and local business and U.S. Elections with reducing all

United States national security risks the U.S. Government under the authority of the

Foreign Intelligence Surveillance Court must:

I. Maintain and control current oil production and oil imports.

2. Completely stop the flow of illegal immigration into the country by land, sea, and

air. Dismiss all asylum claims and other immigrant claims filed in U.S. courts with
immediate fingerprinting and permanent deportation for violations of the Alien
Registration Act of 1940, Immigration and Naturalization Act of 1924 and 1952,
and Espionage Act of 1917 and 1939, and Sedition Act of 1917. Consider closure
of the U.S. Mexico border with ending NAFTA immediately to stop illegal
immigration by way of Mexico traffic on land, sea, and air.

. Continue to rapidly deport the 50+million immigrants using stolen social security
numbers and have stolen federal, state, and local benefits with top priority in
removing all immigrants and fraudulent citizens from federal, state, and local
positions, removal of H1B visas holders using stolen social security numbers and
working in the illegal underground. And removal of all immigrant engineers,
lawyers, professional athletes, celebrities, models, and broadcasters using stolen

social security numbers.

4. Take control of the Federal Reserve System from the Federal Reserve Shareholders.

97
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 100 of 103

Take control of all University and College Mind Control Systems.
Take control of all the United States Mind Control Headquarters.

Take control of all the secret underground military bases and connecting subways.

eS ND YY

Take control of all submerged submarine bases along the U.S. Coastlines and in

Puerto Rico.

9. Be able to attack all global nuclear reactors, laser weather satellites, and submarines
used to attack the United States.

10. Maintain control of all U.S. airports, ports, and harbors with the ability to close any
airport, port, or border when deemed necessary for national security.

11. Discontinue the use of cryptocurrencies inside the United States.

12. Redesign the power grids of all major cities, ports, airports, etc. in such away all
underground operations, ports, and airports are interlaced into all sections of the
power grid making it harder to power these areas without powering most of the
major cities electricity.

13. Restrict social media and social media posts from posting anything that interferes
with the federal, state, or local governments, and U.S. elections since social media
posts involve immigrants not allowed to be involved in federal, state, and local
government business or U.S. elections.

14. Establish stronger - guidelines for all American broadcasting stations and
newspapers to address fake news and their interference in federal, state, and local
governments and federal, state and local elections. Address all American
broadcasting stations and foreign owned operating inside the United States
employing immigrants that cannot interfere in federal, state, and local governments
and elections being in violation of the Alien Registration Act of 1940.

15.Placed sanctions on nations, individuals, and corporations deemed a national

security risk or in violation of U.S. Laws under the Patriot Act and Espionage Acct.

98
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 101 of 103

16. Void all contracts, treaties, and agreements with foreign countries and corporations
that pose a national security threat.

17. Not be foolishly lured into another false war orchestrated by the Federal Reserve
Shareholders.

18. End the U.S. involvement in all false wars aboard and have majority of the U.S.
Military return to the United States in adherence to the U.S. Constitution required
to protect only the U.S. Citizens and U.S. Soil not allowed to fight wars for other

countries.

All 18 requirements to free the United States from the control of the Federal Reserve
Shareholders and the Russian Federation only need to be ordered by the Foreign
Intelligence Surveillance Court without the U.S. Congress, U.S. Supreme Court, or U.S.
President authority due to the U.S. Congress not providing a republic form of government
having over 39 Congress members that are not U.S. Citizens, due to the Judiciary Branch
having hundreds of federal judges who are not U.S. Citizens and the Supreme Court
Justices having. allowed the continual forging of their orders and lower courts federal
judges’ orders with 6 out of 9 being over the required retirement age of 60,, and due to the
Executive Branch having thousands of employees many in top management positions that

are not legitimate U.S. Citizens using stolen social security numbers.

All defendants listed in this case should be sanctioned for their relationship to the Russian
Federation, formerly the Soviet Union, which has and continues subversive actions toward
the U.S. federal, state, and local governments and the U.S. Citizens likely back till 1945

when the United States joined the United Nations in violation of the U.S. Constitution.

Even though this case will be altered and forged under the authority of the Russian
Federation Secret Police for the benefit of the F ederal Reserve Shareholders, there will be
great benefits for the citizens of all nations when the truth is held forth by filing this case

ina U.S. court of law.

99
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 102 of 103

GUIDANCE FOR THE COURT FROM
THE GOD OF TORAH

PSALMS 118:10-26

10 All nations surrounded me; in the name of the Lord I cut them off!

11 They surrounded me, surrounded me on every side; in the name of the Lord I cut
them off!

12 They surrounded me like bees, they blazed like a fire of thorns; in the name of
the Lord I cut them off!

13 I was pushed hard, so that I was falling, but the Lord helped me.

14 The Lord is my strength and my might; he has become my salvation.

15 There are glad songs of victory in the tents of the righteous; “The right hand of
the Lord does valiantly;

16 the right hand of the Lord is exalted; the right hand of the Lord does valiantly.”

17 I shall not die, but I shall live, and recount the deeds of the Lord.

18 The Lord has punished me severely, but he did not give me over to death.

19 Open to me the gates of righteousness, that I may enter through them and give
thanks to the Lord.

20 This is the gate of the Lord; the righteous shall enter through it.

21 I thank you that you have answered me and have become my salvation.

22 The stone that the builders rejected has become the chief cornerstone.

23 This is the Lord’s doing; it is marvelous in our eyes.

24 This is the day that the Lord has made, let us rejoice and be glad in it.

25 Save us, we beseech you, O Lord! O Lord, we beseech you, give us success!

26 Blessed is the one who comes in the name of the Lord. We bless you from the

house of the Lord.

100
Case 1:19-cv-03312-CKK Document1 Filed 11/04/19 Page 103 of 103

Respectfully submitted for the U.S. Citizens and Plaintiffs
Pro Se

pele AU, ( L.

Vicki Fanning McLean, Pro SE
42431 Evangeline Drive
Hammond, LA 70403
832-610-1059
Vickimclean|1954@gmail.com

 

Certificate of Service

I, Vicki McLean certify I will deliver this case original paper form filing with exhibits
Vicki McLean ET AL EX REL USA VS Russian Federation , ET AL to the U.S.
Attorney General Office care of the U.S. Attorney General William Barr at 950
Pennsylvania Avenue, NW, Washington D.C. 20530-0001 by way of USPS certified
return receipt under USPS tracking number — 7018 3090 0001 7370 7371

 

Vicki McLean

Respectfully submitted, Pro Se

 

 

Vicki Fanning McLean, Pro SE
42431 Evangeline Drive
Hammond, LA 70403
832-610-1059
Vickimclean1954@gmail.com

101
